1:03-cv-00005-jgm Document1 Filed 01/06/03 Page 1 of 76

UNITED STATES DISTRICT COURT

DISTRICT OF VERMONT o
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NICOLE WOODS, BY AND THROUGH _) mus
HER MOTHER AND NEXT FRIEND, __) Cm
TRISHA PIDGEON, ) = €
) ==
Plaintiff, ) —
) Jo 09: OV
v. ) CIVIL ACTION NO.
)
VERMONT CENTER FOR THE DEAF & )
HARD OF HEARING, INC. d/b/a THE )
AUSTINE SCHOOL FOR THE DEAF, )
)
Defendant. )
)

COMPLAINT AND JURY DEMAND
Nicole Woods, by and through her Mother and Next Friend, Trisha Pidgeon, commences
this action against the Defendant, Vermont Center for the Deaf & Hard of Hearing, Inc., d/b/a
Austine for the Deaf, seeking the entry of judgment under Title IX of the Education
Amendments of 1972, 20 U.S.C. § 1681(a) (“Title IX”), as well as under theories of direct and
vicarious liability based upon the physical abuse, sexual molestation and harassment of Nicole

Woods, a then-8-year-old deaf student at the school, by her one-on-one aide who was later

promoted to "behavioral support specialist" at the school.
1:03-cv-00005-jgm Document1 Filed 01/06/03 Page 2 of 76

Re @ @

PARTIES, JURISDICTION AND VENUE

1. Nicole Woods ("Nicole") is an individual residing at 469 E. Street, Waterbury,
VT. Nicole is currently thirteen (13) years old.

2. Trisha Pidgeon is Nicole's mother and is an individual residing at 469 E. Street,
Waterbury, VT.

3. Defendant Vermont Center for the Deaf & Hard of Hearing, Inc., d/b/a The
Austine School for the Deaf (“Austine”), is a private, non-profit corporation organized and
existing under the laws of the State of Vermont with a principal place of business located at 209
Austine Drive, Brattleboro, Vermont.

4. Austine receives federal funding pursuant to the Individuals with Educational
Disabilities Act, 20 U.S.C. §§ 1400 et seg. (“IDEA”), for each student that enrolls at Austine.

5. This Court has subject matter jurisdiction over Nicole's claims under Title IX,
pursuant to 20 U.S.C. § 1681(a) and 28 U.S.C. § 1331. This Court has supplemental jurisdiction
over the remainder of Nicole's claims, pursuant to 28 U.S.C. § 1367(a).

6. This Court has personal jurisdiction over Austine because Austine is physically
present in Vermont and because its principal place of business is 209 Austine Drive, Brattleboro,
Vermont.

7. Venue is proper in this Court because both parties reside in Vermont.

FACTS COMMON TO ALL COUNTS
The School and its History of Sexual Abuse and Failure to Properly Supervise Staff
8. Austine was founded in 1904 with a primary purpose of providing educational,

consulting and related services to deaf and hard of hearing students.

-2- BOS_BOS_373330_2.DOC/TVANDYCK
1:03-cv-00005-jgm Document1 Filed 01/06/03 Page 3 of 76

9. Austine provides these services for its students beginning in pre-school and
continuing through the twelfth grade.
10. Austine has had a history of problems associated with (1) staff-on-student sexual
molestation and sexual abuse, (2) charging for services that the school does not provide for, and
(3) lack of supervision of its students.
11. According to its own internal documentation, Austine acknowledged in 1996 that
staff members were engaging in "on-going unprofessional actions," and that Austine was
"charg[ing] for services we do not provide ... school districts are paying for services we cannot
account for."
12. __ A true and accurate copy of a May, 1996 internal Austine document reflecting
these concerns is attached hereto as Exhibit A.
13. According to this same Austine internal memo (Exhibit A), there existed a
"frequent problem" of "kids not being supervised in the classroom" and that:
"{t]he school is at risk if we do not resolve this problem ...
We must resolve this problem immediately for the well
being of Austine school and for liability reasons."

(See Exhibit A).

14. _—_ In addition to the foregoing, there were widespread allegations in 1996 that an
Austine staff member had been sexually molesting young boys at the Austine School for several
years prior to 1996.

15. According to a January 6, 1996 Departmental Memorandum by the Vermont
Department of Social and Rehabilitation Services, the Vermont SRS concluded the following:

“Based on information gathered during this investigation, there is
accurate and reliable information that would lead a reasonable

person to conclude that Don Powers sexually abused [5 boys]
when they were students at the Austine School and he was serving

-3- BOS_BOS_373330_2,.DOC/TVANDYCK
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in a caretaker role .... Due to Mr. Powers’ history of abuse, as
documented in this report and because he has not received any
treatment to address his sexual offending behavior, Mr. Powers,
when employed by the Austine School, posed a substantial risk of
harm to the students."
16. A true and accurate copy of this January 6, 1996 Memorandum from the
Department of Social and Rehabilitation Services, is attached hereto as Exhibit B.
17. In addition to the foregoing, Austine was also on notice, as of 1996, that there was
student-on-student sexual molestation occurring at the school.
18. Ina May 15, 1996 Austine internal memorandum reflecting an Administrative
Meeting, the then Principal of the school, Susan Sien, reported that:
"We had a crisis meeting today concerning [the two students] ...
There was suspicion that [the two students] were having sexual
relations last spring.
Dick asked why [the student perpetrator] was allowed to return to
school and how did we try to protect students? ... Dick stated it
doesn't look good that we allowed him to come back.
19. A true and accurate copy of this May 15, 1996 internal Austine memorandum is
attached hereto as Exhibit C.
20. Because of these and other related issues, Susan Sein, Austine's then-Principal,
was forced to resign.
21. According to Austine's current Superintendent, Mr. Patrick Schrader, the State of
Vermont was contemplating closing the school in 1996 because of lack of curriculum and
because the school was not abiding by special education requirements.

22. Also according to Mr. Patrick Schrader, as of May 1996, Austine was supervising

its staff poorly and was failing to implement policies appropriately.

-4- BOS_BOS_373330_2.DOC/TVANDYCK
1:03-cv-00005-jgm Document1 Filed 01/06/03 Page 5 of 76

23. A true and accurate copy of Patrick Schrader's October 28, 2002 deposition
testimony reflecting these facts is attached hereto as Exhibit D.

24. Upon information and belief, when Mr. Patrick Schrader became the
Superintendent of Austine, he knew the school was being closely monitored by the State of
Vermont.

Nicole

25. Nicole began attending Austine in 1994 when she was about 5 years old.

26. Nicole is completely deaf, although she now wears a cochlear implant.

27. Like most students at Austine, Nicole stayed in the dorm during the week and
returned home on weekends.

28. Nicole attended Austine during 1994 and 1995, and then returned again in the Fall
of 1997 where she stayed until June of 2000.

Rehkop

29.  Austine hired John Rehkop a/k/a Dolph ("Rehkop") in 1996.

30. Initially, Rehkop was hired as a high school boys student dorm advisor.
According to his First Evaluation, he "needed improvement" in almost every category, including
the following categories under "Attitude Towards Students":

- demonstrates appropriate role model,

- shows tact, patience and consideration in dealing with students,
- gives praise to students as positive reinforcement,

- is fair and impartial,

- develops mutual respect and tolerance.

31. A true and accurate copy of Rehkop's November 29, 1996 Evaluation is attached

hereto as Exhibit E.

-5- BOS_BOS 373330 2.DOC/TVANDYCK
1:03-cv-00005-jgm Document1 Filed 01/06/03 Page 6 of 76

32. | Despite Rehkop's poor performance, and specifically his poor attitude towards
students, Austine decided to make Rehkop Nicole's one-on-one aide in 1997.

33. Nicole was 8 years old at the time.

34.  Austine knew or should have known that Rehkop would pose a threat to Nicole
based, in part, upon his prior evaluations at Austine.

35. Given Austine's prior history of abuse, molestation and lack of supervision, as
well as Rehkop's poor performance at the school, Austine never should have allowed Rehkop to
become Nicole's one-on-one aide.

36. During the time that Rehkop was Nicole's one-on-one aide, he physically abused
her, sexually harassed her and sexually molested her.

37. The physical abuse included, among other things, hitting her against a door,
twisting her wrists and arms, slapping her on the shoulder, pushing her, grabbing her by the shirt,
and throwing her against the wall.

38. | Onmore than one occasion, Nicole required medical attention for her injuries.

39. Nicole complained to Austine staff about the physical abuse, but nobody at
Austine undertook any corrective action.

40. _ Nicole's mother was never notified by Austine that her daughter was being injured
by Rehkop.

41. On several occasions, Nicole would go home on weekends with bruises on her
body. When Nicole's mother would call Austine about the bruises, she was informed that they
were self-inflicted because Nicole was "hyper-active."

42. __ Besides the physical abuse, Nicole also was forced to endure sexual abuse and

harassment at the hands of Rehkop, when he was her one-on-one aide.

-6- BOS_BOS_373330_2.DOC/TVANDYCK
1:03-cv-00005-jgm Document1 Filed 01/06/03 Page 7 of 76

43. The sexual abuse and harassment included, but was not limited to, the following:
he would frequently grab her breasts; he would kiss her; he would repeatedly ask her to touch his
penis; and he would ask her to look at his penis.

44. Nicole informed school officials of the harassment/abuse, but Austine again
ignored her complaints. Rehkop continued to sexually harass and abuse Nicole after she
complained to Austine officials.

Rehkop Continues This Molestation of Other Students

45.  Rehkop has also repeatedly sexually harassed and molested other female students
besides Nicole.

46. At least one student, other than Nicole, reported Rehkop's conduct to Austine’s
dormitory staff in May, 1997, who then reported it to administration officials. Among those
alerted about Rehkop's conduct was Rebecca Hilding, Austine's principal at that time.

47. This student had an eyewitness to her version of events.

48. This student and her eyewitness wrote statements and provided them to Austine.

49. _ Upon further information and belief, not only was Austine's entire "investigation"
a sham, but Austine attempted to conceal the "investigation" by destroying its documents
concerning the incident.

50. Upon further information and belief, at least some of the documentation relating
to this incident, in fact, has been destroyed by Austine.

51. A true and accurate copy of a May 7, 1997 internal Austine memo detailing the
above allegations, as well as Austine's desire to destroy documents, is attached hereto as Exhibit

F.

-7- BOS BOS 373330_2.DOC/TVANDYCK
1:03-cv-00005-jgm Document1 Filed 01/06/03 Page 8 of 76

52. Upon information and belief, Austine engaged in a widespread cover-up
concerning these allegations of abuse because of its prior problems and the fact that Austine had
almost been shut down by the State of Vermont in 1996.

More Evidence Of Rehkop's Bad Behavior Toward Females

53. No later than June 1997, Austine knew, or should have known, that Rehkop could
not be trusted with regard to his treatment of females generally.

54. On June 22, 1997, an employee of the school, complained in writing to police that
Rehkop had physically abused her.

55. In an affidavit, Ms. Larsen stated that Rehkop had punched her in the face and
side of the head with a closed fist, given her a swollen lip, crushed her fingers, twisted her wrist,
pushed her on to the floor, chased her in his truck and grabbed her.

56. Ms. Larsen sought and obtained a Relief From Abuse Order against Rehkop.

57, | Rehkop was arrested for domestic assault on the same day that the Relief From
Abuse Order was issued.

58. The next day, June 23, 1997, news of Rehkop's arrest for domestic assault was
published in the local newspaper.

59. At least one Austine official read the newspaper account and reported it to
Austine's principal, Rebecca Hilding.

60. Other Austine officials knew about Rehkop's arrest for domestic assault.

61. | Austine contemplated terminating Rehkop, but chose not to do so. Instead,

Austine required that Rehkop receive counseling for "anger management."

-8- BOS_BOS_373330_2.DOC/TVANDYCK
1:03-cv-00005-jgm Document1 Filed 01/06/03 Page 9 of 76

62. | Upon information and belief, the reason Austine chose not to terminate Rehkop
was because Maureen Larson had informed Austine that she would not be returning to Austine in
the Fall.

63. Rehkop returned to Austine for the next academic year, and continued his abuse

of other female students, at the school.

Rehkop Promoted

64. Despite all of the foregoing, Austine then promoted Rehkop to the position of
“behavioral support specialist" beginning in September, 1998.

65. Because of his new position at Austine, Rehkop was allowed to have
unsupervised meetings with other female students besides Nicole as well as unfettered access to
school buildings. In addition, Rehkop sometimes served as an adult supervisor on bus trips.
Rehkop also had an office on campus to which students were sent when they misbehaved in
class.

The Abuse Continues With Other Students

66. Upon information and belief, Rehkop has engaged in similar sexual misconduct
with other minor female students attending Austine including, but not limited to, Noella Kolash,
Amanda Schauer, Shellene Johnson, and Chrystal Daroczi. The conduct has included, but is not
limited to:

a. Forcing one minor female student to have oral sex with him on several separate
occasions;

b. Pressuring another female minor student on approximately five or six occasions to
show him her breasts;

c. Forcing a female minor student to perform oral sex on him on multiple occasions;

-9- BOS_BOS_373330_2.DOC/TVANDYCK
1:03-cv-00005-jgm Document1 Filed 01/06/03 Page 10 of 76

d. Repeatedly propositioning at least one other female student to engage in sex for
money; and
e. Telling at least one of the girls that having sex would be good for her future.

67. All of the foregoing activity took place on Austine grounds and while Rehkop
was employed as the "behavioral support specialist" for Austine.

68. At least some of the foregoing activity was reported by the female minor students
to Austine officials.

69. Despite knowledge of Rehkop's actions as early as 1997, Austine failed to take
appropriate action until the fall of 1999. At that time, two female students reported another
incident of sexual molestation involving Rehkop and a minor female student. Austine first
placed Rehkop on probation.

70. After only two days on this probation, Austine fired Rehkop.

71. Despite all of the foregoing, the reason Austine gave for Rehkop's termination
was the fact that he was viewing pornography on his school computer.

72. In August of 2001, Rehkop was arrested on four counts of sexual assault of a
minor and is currently awaiting trial on those charges.

COUNTI
(Title IX)

73. Plaintiff restates and incorporates herein by reference the statements made in
paragraphs 1 through 72 above.

74. ~—‘ At all times relevant to this Complaint, Nicole was a student at Austine.

75. At all times relevant to this Complaint, Nicole was subjected to sexual

harassment, molestation, and physical abuse at the hands of Rehkop, her one-on-one aide.

-10- BOS_BOS_373330_2.DOC/TVANDYCK
1:03-cv-00005-jgm Document1 Filed 01/06/03 Page 11 of 76

76. At all times relevant to this Complaint, the harassment, molestation and abuse was
so severe and pervasive as to create an abusive educational environment.

77. At all times relevant to this Complaint, at least one Austine official authorized to
take corrective action had actual knowledge about the harassment, molestation and physical
abuse of Nicole, yet exhibited deliberate indifference to it. As a result, Rehkop continued to
subject Nicole to gender-based harassment, molestation and physical abuse.

78.  Atall times relevant to this Complaint, Austine received federal funding.

79. As a direct result of Austine's deliberate indifference to Rehkop's harassment,
molestation, and physical abuse of Nicole, Nicole has suffered, and will continue to suffer,
physical, emotional and financial damages.

80. Austine is liable to Nicole in an amount to be determined at trial for the damages |
she has suffered.

81. —_ Pursuant to Title IX, Austine is also liable for the reasonable attorneys' fees
Nicole has incurred in having to prosecute this action.

COUNT Il
(Negligent Hiring)

82. Plaintiff restates and incorporates herein by reference the statements made in
paragraphs 1 through 81 above.

83. Austine knew, or should have known, that Rehkop had a proclivity for sexual
molestation when it hired him in 1996.

84. Shortly after Austine's hiring of Rehkop, he began to engage in illegal sexual
contact with minor students and directed sexually offensive comments at minor children,

including Nicole.

-ll- BOS_BOS_373330_2.DOC/TVANDYCK
1:03-cv-00005-jgm Document1 Filed 01/06/03 Page 12 of 76

85. Because of Austine's negligence in hiring Rehkop, Nicole has suffered, and will
continue to suffer, physical, emotional and financial damages.

86.  Austine is liable to Nicole in an amount to be determined at trial for the damages
she has suffered.

COUNT Ht
(Negligent Retention)

87. Plaintiff restates and incorporates herein by reference the statements made in
paragraphs 1 through 86 above.

88. Despite receiving complaints as early as 1997 that Rehkop had sexually harassed
and molested minor female students, including Nicole, and had violently assaulted another
female employee of the school, Austine continued to retain Rehkop as an employee of the school
until the fall of 1999.

89. Austine negligently retained Rehkop with knowledge of his inappropriate and
illegal actions.

90. _ Austine's negligent retention of Rehkop after it became aware of his improper and
illegal conduct toward females permitted Rehkop to continue harassing, molesting and physical
abuse of Nicole, thereby causing Nicole to suffer damages.

91. Austine is liable to Nicole in an amount to be determined at trial for the damages
she has suffered.

COUNT IV
(Negligent Supervision)

92. Plaintiff restates and incorporates herein by reference the statements made in

paragraphs 1 through 91 above.

-12- BOS_BOS_373330_2.DOC/TVANDYCK
1:03-cv-00005-jgm Document1 Filed 01/06/03 Page 13 of 76

93. Despite complaints about his inappropriate and illegal sexual contact with minors,
and his violent tendencies toward women generally, Austine permitted Rehkop to have
unsupervised visits with Nicole.

94. During these unsupervised visits, Rehkop sexually harassed, molested, and
physically abused Nicole.

95. Each incident of Rehkop's sexual harassment and molestation of Nicole occurred
on Austine grounds.

96. During each incident of Rehkop's sexual harassment and molestation of Nicole,
an employee or administrator of Austine was in a position to prevent the sexual harassment
and/or molestation.

97. Despite its knowledge of Rehkop's behavior with other minor female students and
his domestic assault of a female employee of the school, Austine did nothing to prevent Rehkop's
sexual harassment, molestation, and physical abuse of Nicole.

98. Because of Austine’s negligent supervision of Rehkop, Nicole has suffered, and
will continue to suffer, physical, emotional and financial damages.

99. Austine is liable to Nicole in an amount to be determined at trial for the damages
she has suffered.

COUNT V
(Assault And Battery)

100. Plaintiff restates and incorporates herein by reference the statements made in
paragraphs 1 through 99 above.

101. While acting within his scope of employment as one-on-one aide at Austine,
Rehkop assaulted and battered Nicole via the intentional and malicious act of sexual molestation

and physical abuse.

-13- BOS_BOS_373330_2,.DOC/TVANDYCK
1:03-cv-00005-jgm Document1 Filed 01/06/03 Page 14 of 76

102. The assault on Nicole has caused her damage.
103. Austine is obligated to Nicole for damage inflicted upon Nicole by Rehkop while
Rehkop was employed as her one-on-one aide.

COUNT VI
(Intentional Infliction Of Emotional Distress)

104. Plaintiff restates and incorporates herein by reference the statements made in
paragraphs 1 through 103 above.

105. While acting in his capacity as a one-on-one aide for Austine, Rehkop
intentionally engaged in conduct against Nicole that was extreme, outrageous and beyond all
possible bounds of decency.

106. Rehkop knew, or had reason to know, that sexually harassing and molesting a
deaf child would cause her severe emotional distress.

107. Because of Rehkop's actions, Nicole has suffered and will continue to suffer,
emotional distress and other damage.

108. Austine is therefore liable to Nicole for damages in an amount to be determined at
trial.

COUNT Vil
(Negligent Infliction Of Emotional Distress)

109. Plaintiff restates and incorporates here and by reference the statements made in
paragraphs 1 through 108 above.

110. While acting as a one-on-one aide for Austine, Rehkop negligently engaged in
conduct against Nicole that was extreme, outrageous and beyond all possible bounds of decency.

111. Rehkop knew, or had reason to know that physically abusing, sexually harassing

and molesting a deaf child would cause for severe emotional distress.

-14- BOS_BOS_373330_2.DOC/TVANDYCK
1:03-cv-00005-jgm Document1 Filed 01/06/03 Page 15 of 76

112. Because of Rehkop’s actions, Nicole has suffered and will continue to suffer,

emotional distress and other damages.
PRAYERS FOR RELIEF

WHEREFORE, the Plaintiff, Nicole Woods prays that this Court enter the following
relief:

1. Judgment in favor of the Plaintiff and against the Defendant, The Vermont Center
for the Deaf and Hard of Hearing Inc. d/b/a Austine for the Deaf pursuant to Counts I through VI
above in an amount to be determined at trial but estimated to be not less than Five Million
Dollars ($5,000,000);

2. Punitive damages in an amount to be assessed by the jury.

3. Attorneys’ Fees, pursuant to Title IX and 42 U.S.C. § 1988; and

4, For such other and further relief as this Court deems just and proper.

PLAINTIFF DEMANDS A JURY TRIAL ON ISSUES SO TRIABLE
NICOLE WOODS BY AND THROUGH

HER MOTHER AND NEXT FRIEND,
TRISHA PIDGEON,

By ri,

‘Samvel H. Angdl

Fitts, Olson & Giddings, P.L.C.
16 High Street

Brattleboro, VT 09301-3001
802-254-2345

-15- BOS_BOS_373330_2.DOC/TVANDYCK
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EXHIBIT A
1:03-cv-00005-jgm Document1 Filed 01/06/03 Page 17 of 76

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12-19 07. T. Violette

Administration Meeting

Present: Don Powers,.Will Verbits, Dick Virkstis, Kathy Gent, and Susan Sien
Interpreter: Virginia Husted -

Agenda:

°Staff-hiring . moo,
*Budget 7s ~
°Re-organization

Minutes: : 2
I. Staff .
Judy Kinoy-there are problems regarding on-going unprofessional actions." Judy was
inappropriate yesterday. in Vanessa's IEP suggesting Vanessa live with Judy as a
foster parent in front of Vanessa's mother with out prior discussion. Also, her
behavior regarding handing in her time card late and then expecting to get paid.

- When her request was denied ‘she refused to come to work today. Decision was —
made to give her a written warning. oo

High school girls dorm staffing problems-Amy B. will be added to help out.

Il. Staff-Hiring . .
Bob was replaced with Kathy Vandal and a new person was hired in the kitchen.

III. Budget -
The challenge program tuition has been incorporated into the regular tuition in the _
current proposed budget. The goal is to establish a base tuition rate‘and then charge ~
for additional services ie. counseling, one-to-one aides, ect. Currently regular ~
tuition is $43,000 and Challenge (residential) tuition is $50,000. Kathy’s proposal is

to charge regular tuition for all students and then add on additional charges for
Challenge services. The concern {s that currently we charge for services we do not
provide. School districts are paying for services we-can not account for. Specifically

- in Mindy Tyler's case we are not meeting the IEP objectives but still charging for
Challenge tuition. These problem arouse due to Joyce's lack of follow through and
lack of accountability as far as the budget is concemed.

What is required to serve a Challenge Student beyond ‘what we normally provide?
The kids in the Challenge program have more serious jrérital health issues. The
level of therapy is beyond Ina Schaeffer's ability, behaviral specialists would be
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1:03-cv-00005-jgm Document1 Filed 01/06/03 Page 18 of 76

Page 2 © @

required as well. One-to-one aides are necessary in the classroom and in the dorm. —
Decision was made to establish a base for the regular tuition and establish a base for

‘the Challenge tuition and then add on additional services.

IV. Current Budget

Kathy will hand out a copy to everyone tomorrow. Concerns were brought up -
relating to the waste In the kitchen and tremendous cost of ordering. Peter Skib will
come back to Austine in the fall depending on his doctors report.
V. RA’Schedule Change ’
The RA’s do have a difficult schedule, working in the mornings and in the. __
afternoons. They are currently salaried employees. Their ideas concept is good but ~~
difficult. Kathy suggested that RA’s should not be salaried employees according to
-Labor. Laws. They should be hourly employees. Concerns were suggested regarding
coverage. It was agreed that a couple RA representatives should come to the |
administration meeting to share their concerns and ideas.-

VI.. Allegations made against Don Powers .
The serious issues relating to Don Powers are common knowledge around campus.
We need to resolve these issues so we are not in the eyes of the students, parents
and staff, doing nothing. In the best interest of the school it would be advisable if
Don were to take ari administrative leave. A-memo will be sent out to staff that .
Don is on temporary leave. If the accusations are found to be false we would expect
Don to come back and there are many people who look up to him. Susan made the
recomendation that Don take administrative leave. In terms of coverage Alana can
take over and additional help will come from Susan. | oe

VI. Lack of Supervision in Classrooms .
We need to make sure we do not have classes where kids are not being supervised.
The school is at risk if we do not resolve this problem. It is a frequent problem. We
must resolve this problem immediately for the well being of Austine.school and for’
liability reasons. Who is there to make sure coverage happens with subs and with
lesson plans? There were many teachers on personal leave on the same day which
made it difficult to find coverage. ‘Also, we do not have reliable coverage as =~
substitutes. We must set up a safety net to make sure this never happens again ie.
no more than 3 people of personal leave at a time, and if subs don’t show up for

- there responsibilities then we don’t ask him/her to sub again, and set up a resource

room for tutoring or study hall with a teacher there all the time.

VII. Administrative Team
The team is supposed to make decisions as a collective but it seems that Susan made
the decision to have Steve Casella come back without the team. He is supposed to
stay away from Vanessa, but how will we do this? Don is supposed to provide a one-
to-one for him at night. The investigation has not been completed by SRS which

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Page3 ,

puts our other students and school at risk. There have beer allegations made that
he raped a girl off campus and on campus. He has come back to school because he is
" getting behind on his work, his parents are angry, and he is sitting at home getting

fat.

»

. IX. Break-In °
Holton Hall was broken into as well as, the snack bar. It is assumed that the Karate

students were involved because Lori Collette saw them in the library. Nails, thumb
tacks and screws were poured on tlie floor in the library and the glass was broken on
the candy display in the snack bar. A letter will be sent to the karate instructor .

_ asking him to make sure his students are supervised.

X. Project Adventure

Wants to set up a structure. Wooden with out electricity and plumbing. It has been .
approved to be set up in the woods. . -
Meeting Adjourned 5:30pm. , .

Respectfully Submitted,
Tami ‘Mahurin

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1:03-cv-00005-jgm Document1 Filed 01/06/03 Page 20 of 76

EXHIBIT B
‘ae

1:03-cv-00005-jgm Document1 Filed 01/06/03 -Page 21 of 76

DEPARTMENTAL MEMORANDUM

Agency of Human Services
Department of Social and Rehabilitation Services

TOs Leane Page, Operations Manager
FROM: Martha Johnson, Investigative. Social Worker °
’ DATE: January 6, 1996

SUBJECT: Investigative Report regarding the allegation: that Don
Powers, Residential Director at the Austine School,
sexually abused students at the school 10-15 years ago.

ALLEGATION:

On wat ioe a report was received ty SIU

 eporte he ausorrent staff ‘Dereon, who 15 ‘a for er student,
had recently . told her that Don Powers had molested a number of'-

’ students ten to fifteen years ago. At the time of the report, it

was not known by SIU if this staff person was a victim or only had
knowledge of the alleged behavior.

ASSIGNMENT:

on 4/12/96, this report was assigned to Martha Johnson,

. Special Investigations Unit, for evaluation of substantial risk of

harm to current students at. the Austine School.

‘LIST OF PERSON CONTACTED: ~

1. -Brenda Fraenkel, "principal at Austine School, 4/15/96 ©
(telephone); 4 / 16/96 (attempted telephone); 3; 4/17/96
‘(attempted telephone); 4/18/96 (meeting) .

2. Laurie Meyer, Interpreter, 4/15/96 (attempted telephone) ; ;
- 4/16/96 (telephone) ; 4/17/96 (meeting); 5/21/96
(meeting).

3. Jimmy Challis , witness/former student at Austine School,’
4/17/96 (interview) ; 4/18/9& (meeting); 4/23/96
(attempted telephone); 4/26/96 ( nterview). .

4. Tammy Mahurin, sécretary/interpréter; 4/18/96. «=—3 A 2447

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5. Mary Rodreguez, Referral Service, 4/19/96 (telephone) ;
4/22/96 (telephone); 6/27/96 (telephone); 11/19/96
(telephone). ,

6. Kathy %Strzempko" Gent, Personnel Director at Austine |
° School, 4/23/96 (telephone); 4/24/96 (meeting) ;. 4/25/96
.(telephone); 5/7/96 telephone); 5/20/96 (telephone).

7. Susan Sien, Executive Director, 4/15/96 (fax received) ;

, 4/26/96 (telephone) ; 4/26/96 (meeting) ; 4/29/96
(telephone) ; 4/30/96 (telephone) ; 5/8/96 (letter); 5/8/96.
(telephone).

8. Laurie Benjamin, Interpreter, 4/26/96 (meeting).

9. Mark Dore,. staff person at Wheeler House (affiliated with
Austine School), 4/26/96 (meeting) ; 4/29/96 (telephone) ;
5/2/96- (telephone) -

10. Ronald Marsh, former student/alleged victin, | 5/3/96
(letter); — 5/31/96 (letter). , ,

11. Steve. Mosher ‘(dob 8/28/63, class of 1982); alleged
victim, 5/7/96 (attempted telephone) ; 5/8/96 (telephone) ;
5/21/96 (interview, pg. 13).

12. - James Gadrault, former student/alleged victin, 5/8/96 -
* (letter); 6/24/96 (letter). .

13. Annette Martello, Administrative Assistant at North .
Central Correctional Institute, Gardner, MA, 5/14/96
(telephone); 5/24/96, (telephone).

14. Judy Kinoy, Resident Assistant at Austine School, 5/14/96
(telephone); 5/16/96 (telephone). .

15. John Marshall, ..Superintendent at North Central
. Correctional Institute, Gardner, MA, 5/16/96 (letter).

16. Detective Steve Rowell, Brattleboro Police Department,
5/17/96 (telephone).

17. Karen Richards, attorney for Department of Education,
5/21/96 (telephone); 5/22/96 (telephone).

18. Anonymous caller, former staff person, 5/22/96
(telephone). ~ . .

19. Richard Virkstis, Director. of Development . at Austine
° School, 5/21/96 (meeting); 5/22/9& (telephone); 5/24/96
(telephone); 6/20/96 (telephone) ;. -46/25/96 (telephone) ;

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6/26/96 (telephone) ; 7/3/96 (telephone) ; 7/11/96
(attempted telephone) ; 7/24/96 (telephone); 7/24/96
(meeting); 11/8/96 (telephone); 12/19/96 (telephone) ;.
12/23/96 (telephone).

Dominick Bonura, acting Executive Director at Austine -
School, 6/7/96 (telephone) ; 7/24/96 (meeting).

Don Powers, accused, 6/7/96 (letter); 6/17/96 (attempted
telephone) ; 6/18/96 (telephone); 6/20/96 (interview);
12/5/96 (interview); 12/19/96 (attempted telephone) ;
12/20/96 (attempted telephone); 12/21/96 (attempted
telephone); 12/24/96 (telephone). .

Richard Carroll, attorney for Don Powers, 6/19/96
(telephone); 6/20/96 (meeting); 11/19/96 (attempted
telephone); 11/19/96 (attempted telephone); 12/5/96 —
(meeting); 12/30/96 (telephone). _

Judy Powers, wife of Don Powers, 6/20/96 (meeting) ;
12/5/96 (meeting); 12/19/96 (telephone); 12/20/96

(telephone); 12/24/96 (telephone).

Tupper Dunbar, Interpreter, 6/20/96 (meeting) .

John Fish, Administrator at Austine School, 6/21/96 _
(telephone). . .

Richard Lane, former Headmaster of Austine ‘School,.:
6/21/96 (telephone). .

Christopher: Perreault (dob 10/14/61, ‘class of. 1980),
alleged victim, 6/24/96 (letter); 9/17/96 (letter);
11/6/96 (interview, pg. 29).

Mitchell Trombley, parent of possible witness, 6/24/96
(attempted telephone); 6/25/96 (attempted ‘ telephone) ;
6/26/96 (attempted telephone); 7/24/96 (attempted
telephone); 7/25/96 (letter). .

Detective Rick Andrews, Brattleboro Police Department,
7/2/96 (meeting) ; undocumented date (telephone). —

William Werden (dob 2/7/72, class of 1992), alleged
victim, .6/26/96 (telephone); 6/26/96 (letter); 7/2/96
(interview, pg. 26). , . .

Patricia Werden, mother of William Werden, 7/1/96
(telephone). : oO,

Virginia Nolan, Interpreter, 712418 (meeting).

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1:03-cv-00005-jgm Document1 Filed 01/06/03 Page 24 of 76

33. Diane Perreault, mother of Christopher Perreault, 9/25/96
(telephone); 10/25/96 (telephone).

34. Allie, staff person at Vermont Referral Service for the
Deaf, 10/21/96. (telephone). .

35, Joan Pellerin, Interpreter, 11/6/96 (meeting) .

36. Rene Pellerin, Vocational Rehabilitation Counselor for
Ronald Chaffee, 11/11/96 (TTY); 11/14/96 (TTY).

37. Ronald Chaffee (dob 10/1/71, class of 1990), alleged
victim, 11/14/96 (TTY interview, pg.-31).

38. Janice, staff person at Vermont Referral Service for the
Deaf, 11/19/96 (telephone).

39. - Janice Cagan-Teuber, Interpreter, 12/5/96 (meeting).

39. Arthur Challis (dob 7/14/61, class of 1980), alleged
victim, 12/6/96 (letter).

40. Raymond Stevens, former administrator at Austine School,
--12/19/96 . (telephone) . . :

41. Sergeant John Dudek, Hinsdale, New Hampshire Police
Department, 12/27/96 (telephone).

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DECISION: . cae

On 12/5/96, ‘this investigation was discussed with supervisor
George Karson. . The information gathered during this investigation
would lead a reasonable person to believe that Don Powers sexually
abused Steve Mosher, Arthur Challis, William Werden, Ron Chaffee
and Chris Perreault when they were students (children) -at the
‘Austine School. Furthermore, based on Mr. Powers' history of abuse
and because he has not received sex offender treatment, Mr. Powers
posed a substantial risk of harm - sexual, .to current students at |
the Austine School. - - .

JUSTIFICATION:

Due to the unavailability of Susan Sien,. this investigator
contacted Brenda Fraenkel, the principal at Austine School. She
identified the original source of the report as Jimmy Challis, who
is currently a teacher on staff and formerly a student at Austine
School. Ms. Fraenkel understood that as a: former student, Mr.
Challis witnessed. sexual abuse of other stydents by Don Powers
‘while at Austine School. Ms. Fraenkel indicafed that Jimmy Challis
had a list of names of victims with whom he Has been in contact..

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According to Jimmy Challis, these. former students were
troubled by what happened. Ms. Fraenkel said she did not question
“Mr. Challis about what happened, but understood that he had not
come forward sooner due to his fear of retaliation. Ms. Fraenkel
further commented that Mr. Challis had not had the courage to come
forward until now and that he is still fearful. Ms. Fraenkel said
that Mr. Challis has given no indication that he was victimized.
Ms. Fraenkel said that Mr. Challis has been told that SRS was
contacted and would need to meet with hin. .

On 4/17/96, this investigator interviewed Jimmy Challis at the
Austine School. Laurie Meyer interpreted this meeting. Mr.
Challis provided the following information: He had been a student
at Austine School from the Fall of 1971 to 1973. Don Powers, the

Dean of . Students, had been a dorm supervisor during ‘the .

aforementioned time period. He described that Don Powers would
fool around and wrestle with boys in the dorm and that the

wrestling always Ted to touching or grabbing of the genitals. He.

said Don always initiated the grabbing and sometimes the boys
responded by grabbing Don. Don and the boys were always clothed
when Mr. Challis witnessed this behavior. .Mr. Challis denied that
this behavior occurred with him. Mr. Challis indicated that he
used to call Don a "fag" and that Don-knew not to try that behavior
with him. Mr. Challis named five former students whom he said he
witnessed being grabbed in the genitals by Don: James Gadrault,
Billy Hudson, Gary Palmer, David Lunderville, Lloyd Downing. Mr.

Challis indicated that if these people were questioned, they might .

say the activity was just "playing."

Mr. Challis- indicated that at the time of his observations,
he had not brought up the subject with the other students nor with
Don. .However, he said he had recently talked with some of these
former peers, as well as with former students from the 1985 to 1986
time period. Note:. Mr. Challis was hesitant to provide names
during our meeting. “Mr..Challis referred this investigator to

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Kathy Gent, the Director of Personnel, who Mr. Challis understood’

had received reports from people over the years complaining about
Don. When asked how he knew this information, Mr. Challis said

that as a member of the alumi organization, he has heard people

talk..
Mr. Challis indicated that he has other "hearsay" information

and that there is a lot of talk about other types of abuse by Don..

He expressed that he did not. feel free to repeat this information
. because it was "hearsay". He added that people knew an
investigation was happening, that people were talking and people
would come ‘forward once information started to come out. Mr.
Challis said he was not aware of any current victims, but suggested
that Clint Casella and ‘other students who Have been expelled .be

' interviewed: ‘Mr. Challis said a couple of weeks ago he had talked

with Clint Casella and-Clint had told him abo#t separate incidents
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of Don rubbing him on the back and watching him in the shower. Mr.
Challis said Clint was angry when he talked with hin.

Mr. Challis indicated that he was coming forward now because
he had taken a workshop on child abuse prevention and this training

. made him think about his own experiences and about what happened

in the dorm. Note: It was not clear to this investigator when Mr.
Challis took this workshop. Mr. Challis acknowledged that he could
have made a report long ago, but he was fearful of being fired from
his job at Austine School. He indicated that he now needed to be

free of this burden. -

On 4/18/96, this investigator met briefly with Jimmy Challis.
Brenda Fraenkel and her secretary, Tammy Mahurin, were present.
Ms. Mahurin. interpreted. The purpose of this meeting was to
clarify. information previously provided by Mr. Challis, as well as
to gather additional information he might have. Mr.Challis’ was

-given the choice of communicating via a computer screen or through

the services of a certified interpreter, with the latter needing
to be arranged for a future date. Note: Ms. Mahurin is not a
certified = interpreter. Mr. Challis preferred the use of an
interpreter rather than communicating via a computer screen. I
agreed to contact Mary Rodreguez from the Referral Service to
arrange for an interpreter for our next meeting. ,

On 4/26/96, this investigator interviewed Jimny Challis at the

Austine School. Our meeting was interpreted by Laurie Benjamin. |
Mr. Challis again discussed his past observations of Don Powers.

wrestling with boys in the dorm. He again named students that: Don~
either tried to grab or did grab in the genitals. In addition, Mr.
Challis named other sources whom he said had information. .

Mr. Challis first identified Steve Mosher, who is a former
student. Mr. Challis said one month ago, Steve Mosher stopped at
his house... Steve was not very clear, but Mr. Challis understood
he was complaining about an incident that happened when he had been.
a student at Austine School. Steve complained that he had been
blamed for sexually: touching another student and had been suspended
for two weeks for this behavior.- Steve then complained to Mr.

‘Challis that he wanted Don Powers removed from the school, saying
‘that it was not appropriate for Don to be at the school. Steve

told Mr. Challis that he saw Don "touch" ‘other students and that
he had seen Don naked in the shower with other. students.or saw Don
and students, leaving the.shower together. Mr. Challis said he last
talked with Steve on the weekend that followed our first meeting.

“At that time, Steve indicated to him that he was trying to contact

other people who had information.

Mr. Challis then naméd Mark Dore, who sis a staff person at
Wheeler House. Mr. Challis indicated that ja Iot of people -have
told things to Mr. | Dore and that he has info4 ation.

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Mr. Challis then named Debbie Hammond and Mary Gorman; both
are staff persons at the Austine School. Mr. Challis said two to.
three months ago, Debbie told him she had heard about "anal sex and .
blow jobs". happening with Don Powers. Mr. Challis indicated that
he did not know if Debbie had heard rumors or had been told by
victims about this behavior. Mr. Challis said Mary Gorman had also -
. "heard stuff" and had indicated to him that she had funny feelings

and that something was bothering her.

| Mr. Challis then mentioned James Gadrault again. He described
an incident that occurred in October, 1995, in which James had been’
drunk and told him about Don Powers "groping him sexually." James
also signed "blow job" when he talked about Don, but he did not

. give other specifics to Mr. Challis.

Mr. Challis further stated that he is‘a friend of the Casella
family.. Mr. Challis said he had spent time with Clint. Casella and
that he noticed a change in Clint's behavior starting at the age
-.0of 12 years old. Mr. Challis indicated that Clint is angry with
Don Powers and has been angry with him since the age of 12.. Mr. .
Challis said Clint talked about Don watching him in the shower a -
long time ago, when Clint was younger. Clint also indicated to Mr.
Challis that there had been an incident of Don rubbing his back. .
Clint did not give other.details to Mr. Challis. Mr. Challis-™
described Clint as "closed, but angry" and thought’ this.
investigator should talk with Clint.

On 4/23/96, this investigator spoke with Kathy Gent. Ms. Gent 3
said that after Susan Sien made a report to SRS, she called an.
emergency administrative team meeting. Ms. Gent said-she is a’
member of that.team. The team decided.they.needed to do their own:
investigation. © They had spoken with the school attorney who
advised that it would not be proper to suspend Don Powers due to
the time frame involved and because they were unable to prove the
abuse. Ms. Gent then started Austine's investigation by. -
_ interviewing Jimmy Challis.. This interview took place on 4/15/96.
Mr. Challis gave her a list of names, some who were current
employees. The people Ms. Gent talked with had been identified as
either witnessing past abuse or having hearsay information about
past abuse by Don Powers. Ms. Gent said no details were given to
her and that everyone was afraid to talk. The people she talked
with then directed her to others; however, no-one made disclosures
of their own victimization. Ms. Gent identified some of the people
with whom she talked. She added that she-had also been approached
by people who wanted to talk with her about Don Powers. :Ms.- Gent,
‘said there has béen supposition that deals were made by Don Powers
to keep people silent or that he used threats. Note: According ~
to written documentation later provided to this investigator by
Richard Virkstis, the aforementioned emergency administrative team
meeting was held on 4/12/96. See SIU case file for copy of a
memorandum from Mr. Virkstis to Dominick one dated 5/25/96. °

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On 4/24/96, this investigator met with Kathy Gent at the
Austine School. Ms. Gent provided names of people she had
obtained. Debbie Hammond, who is a teacher and former student, was
told about things that happened in the 1980's when she was a
student. She'did not give details to Ms. Gent but gave her five
names of former ‘students that she identified as victims: John
Russell, Kevin Hopkins, Arthur Challis, Ron Richard and Steve’
Mosher. Ms. Gent said that Kevin Hopkins was in a Massachusetts |
jail for attémpted murder and that Arthur Challis was in jail for
sexual abuse of students while at the Learning Center -in
Framingham, MA. Ms. Gent added that Arthur Challis is the younger

brother of Jimmy Challis.

When Ms. Gent met with Jimmy Challis on 4/15/96, he did not
give her details about what he witnessed or was told. However, he
gave Ms. Gent an idea of what he thought happened,- which included
incidents of fondling and oral ‘sex between Don Powers and former
students. Mr. Challis also told Ms. Gent that Don Powers used to
grab boys’ buttocks to determine if they were receptive to his
advances. Mr. Challis gave her the following names: Mary Gorman,
identified as a witness; Yolanda Henry, identified as a witness;

' Bill Hudson, identified as a victim; Gary Palmer, identified as a
victim; James Gadrault, identified as a victim; David Lunderville,
identified as a victim; Steve Mosher, identified as a victim; Mark
Dore, unclear if identified as a witness or as victim; Alex Bonura,
identified as-a victim; Patrick Burns, identified as a victim; John
Kennedy, identified as a victim. Note: . Ms. Gent said she spoke .
with Yolanda Henry, who said she did not know anything and was }
shocked and surprised. Ms. Gent had also communicated with Bill.
‘Hudson, who is a board member, and he denied that he had been a‘
victim of ‘sexual abuse by Don Powers. (Note:- -See--copy of. TTY

printout of Ms. Gent's conversation with Bill Hudson.)

Ms. Gent said. she met again with Jimmy Challis on 4/23/96 and
he asked her if she had talked with Mark Dore yet. Mr. Challis -
encouraged her to talk with-Mr. Dore, saying he had information.

. MS. -Gent said she was not aware of personal or work related
‘problems between Jimmy Challis and Don Powers. However, ‘she
thought when Jimny Challis was a student, Don Powers-was involved
with having him expelled for branding another student. She further
stated that Arthur Challis was also expelled and she believes Don
Powers was responsible for that, too. She said she is not aware
of others who may have grudgés against Don Powers.

Ms. Gent said she talked with Ina Schaeffer, the school
counselor, and she named studénts that she suspected were involved
with Don Powers. .. Ms. Schaeffer named Luke Poquette, who she
described as a troubled child who Don “Powers befriended.
Apparently,. Luke used to go home with Don Powers. Ms. Schaeffer
named Lyman Lawyer as being pinched on the butt by Don Powers. Ms.
Gent did not know how-Ms. -Schaeffer knew thig. Ms.-Schaeffer also

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named Stan Sanders, who is Don Powers' stepson. Ms. Schaeffer |
_ indicated to Ms. Gent that she had reason to believe that Stan was
abused while growing up in Don Powers' home.

: -Ms. Gent said she was approached by another staff person,
Laurie Collette, who confirmed that Luke Poquette had been
victimized by Don Powers. Ms. Collette told her that she and Luke

.. had been students together and that Luke had told her about his
s° victimization by Don Powers. However, Ms. Collette did not want
to give details to Ms. Gent and said she was afraid .of

- repercussions because Don Powers was her boss. Ms. Collette also
said she had. other names but wanted ‘to talk with these people
before releasing their names. :
Ms. Gent was also approached by Jennifer Lanpher, who is a

current staff person and former student. Ms. Lanpher said when she
‘had Don Powers for shop class, she defied him on one occasion. Ms.
Lanpher said Don became angry, grabbed and shook her and pushed her
into a closet and dragged her across the floor. Ms. Lanpher said
she had been injured and went to the nurse's office and was
-bandaged. Ms. Lanpher also gave 3 names to Ms. Gent: Luke
.Poquette, John Russell, and Wayne Betts, Sr. . Ms. Lanpher said she
had a conversation with these 3 men about oral sex and masturbation
.and believes this is what they-experienced with Don Powers. Ms.
Gent. said Wayne Betts is married to Kathy Betts, who is an aide at
Austine School. There has been a lot of hostility between Kathy
Betts and Don Powers. and he’ has come close to disciplining her but
had not done this.

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-. During a telephone conversation with Ms. Gent on 4/25/96, she’
-said she’ had spoken with Mark Dore.. Mr.. Dore used to. be-a--
, vocational rehabilitation counselor for a person named Ronald
Miller who is also a former student at Austine School. Mr. Dore
told Ms. Gent that when he worked with Ronald, Ronald-.told him that
Don Powers had sexually molested him.” No details had been given
about what the molestation involved. Ms. Gent said Ronald now has
‘problems with women and has been in trouble with the local police
in the past. Ms. Gent said Ronald currently lives in Greenfield, .
MA... ° Loo

Prior to meeting with Jimny Challis on 4/26/96, this
investigator . met with AEE Laurie Benjamin interpreted..
said she did not have a current address for Ron Miller and
directed this investigator to Mark Dore who might have this
information. She indicated that Ronald Miller was a 1981 graduate.

SEER <2id Jimmy Challis had approached two other people,
* - Brenda Fraenkel and Ina Schaeffer, before bringing his concerns to
her. When et with Jimmy Challis, he had made a general
statement about witnessing Don Powers having sex with someone.
- then met with Ms. Schaeffer and Ms. Fraenkél and it was decided
that SRS should be contacted. ‘ .

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said §@ spoke with Bill Hudson after gp had spoken
with Jimmy Challis. qgQ said that Mr. Hudson indicated to.@qgp
‘ that he had no idea of past problems with Don Powers and that ‘he
had never witnessed anything. Mr. Hudson told aD that Jimmy
Challis had called Alex Bonura and had tried to ask him questions
about what happened in the past. said Mr. Hudson wondered
if Jimny Challis was "trying to stir up the. pot."
indicated that the name of Wayne Betts, Sr. had also been mentioned
to her. @@j said gg had planned on speaking with Mr. Betts and
his wife, Kathy, but actually only spoke with Kathy. Apparently,
Mrs. Betts told S34 that her husband was never involved with
anything to do with Don Powers, although Don had been described as .
being "rough" in the dorm. .

SEE initially said that Jimmy Challis.graduated in 1973 °
and then commented that he had been kicked out of school.
Apparently, Don Powers had reported that Jimmy Challis had been

_ involved with some kind of hazing incident. QP said GBB was
- not aware of current problems between Don Powers and Jimmy Challis;
however, @9 questioned the credibility of Jimmy Challis and
_ suspected that he might be looking for revenge. (EER also made
_reference to Arthur Challis and rumors about his victimization by
Don Powers. @ggpdid not have specifics. Apparently, Jimmy Challis
~ said Arthur had a sexual identity problem and blamed this on Don
Powers, who had labeled Arthur "gay" when Arthur had been a
student. .

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After interviewing Jimmy Challis on 4/26/96, this investigator.;
intérviewed Mark Dore, who is .a staff person at Wheeler House.’
Laurie Benjamin interpreted... Mr. Dore said..when--he--was a

_ vocational rehabilitation counselor, he worked with a young man ~
named Ronald Miller. Mr. Miller graduated from Austine School in-
1990 or 1991. Mr. Dore recalled -that Mr. Miller had been charged
_ ‘with sexually assaulting a woman in the community and sought out
ro “the advocacy of Mr. Dore. Mr. Miller told Mr.. Dore that when he
‘ "was younger, possibly 12 years old, Don Powers had sexually abused
“him. Mr. Miller expressed that he was angry about this and felt
*. “it had implications on his own sexual behavior. Mr.. Dore said that
- Mr. Miller could not talk about the abuse due to being scared and
embarrassed. ~- ,

- Note: During a follow up contact with Susan Sien, she stated.
that the school had no file listing for a former student named
Ronald Millér. This investigator later learned from Mark Dore that
he had mistakenly given the name of Ronald Miller and that the .¢
- person he had actually worked with was Ronald Marsh. On 5/3/96, ° .
this investigator sent a letter to Ronald Marsh using the address .-
provided by Mark Dore.- This létter was later returned by the

» postal service marked “addressee unknown." =
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During a contact with Susan Sien on 4/29/96, she recalled that
two years ago, she had received an anonymous letter that advised ©
her not to trust Don Powers. The letter also contained concerns .

" about Don taking boys in his truck or to his house. Ms. Sien said

she confronted Don after receiving the letter and he responded with -
disappointment and he was upset. He expressed to her that he had
heard rumors before, that he was tired of the rumors and that it
was "nothing new." He indicated that he did spénd time with
children after school. Ms. Sien said she felt comfortable with
Don's response because She knew hin.

On 5/15/96, this investigator sent a letter to James Gadrault,
using an address provided by Susan Sien. This letter -was later
returned by the postal service with the explanation "authorized
forwarding. has expired."

During a telephone conversation with Kathy Gent on 5/7/96, she

_ stated that she had spoken again with Jimmy Challis. He told her

that during a conversation with Steve Mosher, Steve said when he
was a student, he was given an F in Don Powers' class. Reportedly,
Don offered to give Steve a better grade if he gave Don a "blow
job." Ms. Gent believed this did occur because Steve told Mr.

. Challis that he felt dirty and embarrassed about the whole thing.
-This investigator does not know the date on which this conversation

occurred between Ms. Gent and Jimmy Challis. However, this
investigator understood from Ms. Gent that Mr. Challis had gotten
this information from Steve Mosher on the Saturday before 5/7/96.
During a telephone conversation with Susan Sien on 5/7/96, she,
stated that Don Powers had been asked to take an administrative’
leave due to all the talking that was occurring. She said Don was .._
made aware of the allégations, but was not given details: ‘She said”
that Don denied the allegations and: thought people were out to get
him since he had become Dean of Students. He: mentioned the _nane.
of Jimmy Challis and told Ms. Sien that he had heard.from a
colleague of his that. Jimmy Challis. was calling everyone.

after numerous attempts to contact Steve’ Mosher, this

investigator talked with him via the Relay Service on 5/8/96.

Although Mr. Mosher's comménts and replies were sometimes

disjointed and confusing, he indicated that he had been a-victin

of Don Powers. Mr. Mosher expressed willingness to talk further

and this investigator agreed to have an interpreter available for
+ anticipated meeting.

on 5/14/96, this investigator learned-that Arthur Challis’ had
cecently told Jimmy Challis that when he was a child, he had sexual

" .scontact with Doh Powers. This investigator then contacted Annette

Martello from the North Central Correctional Institute in Gardner,
MA, for the purpose of obtaining permission: to visit the facility ..

‘to interview Arthur Challis. Ms. Marshal instructed this

investigator to write a request to John Marghall, Superintendent.

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See letter to John Marshall dated 5/16/96. Note: During a
subsequent contact with Ms. Martello, she said Arthur Challis was
not willing to talk with SRS. Apparently, he gave no explanation
for his refusal to meet. °

On 5/14/96, .this investigator contacted Judy Kinoy, a staff
person at the Austine School. During this contact, Ms. Kinoy
provided the following information: In 1991 or 1992, a former
; student and former resident assistant, Madonna Coburn, told Ms.
. 'Kinoy that she had walked in on Don Powers and a student and
“witnessed "fondling or a blow job." Ms.Kinoy said she asked
Madonna why she did not tell and Madonna told Ms..Kinoy that no one

' . believed her. Ms. Kinoy did not know the name of the student who-

had been seen with Don, but she understood that this former student
was now’ in jail. Ms. Kinoy said she recently spoke with Madonna
and told her about the recent events at Austine School. Ms. Kinoy
said she asked Madonna if what she told her had really happened‘and
Madonna indicated to her that it was true. Ms. Kinoy again asked :
Madonna why she did not tell and Madonna indicated that she was
afraid and would wait until others came forward. Ms. Kinoy
understood that Madonna had confronted’ Don at some point and then
left Austine School before she was fired. Ms. Kinoy did not have
an address-for Madonna but said her family lived somewhere north.

Ms. Kinoy further stated that last summer, someone named Vicki

(last name unknown) told her how messed up Austine School was,
saying that Don Powers molested young. boys and that this was
commonly known and discussed among people. Ms. Kinoy also -
identified Mary Bird, who is a social worker somewhere, as knowing..."
of past victims. Ms. Kinoy said no one has disclosed their’
-victimization .to her and she has only heard. second --hand
- information. She added that no current’ students have been named
to her.

On 5/16/96, this investigator had another contact with Ms.
Kinoy. She said she. had heard rumors that a current resident
assistant had made a disclosure either about being a victim or
knowing a victim of Don Powers and that Susan Sien was going to
fire the person for coming forward. Ms. Kinoy did not know this
staff person's name. Ms. Kinoy also said that residents in the
dorm were talking about Don Powers and that some were upset and
close to tears. Ms. Kinoy said she thought Patrick Rosenberg, a “*
current student, may be a victim because she asked him what: he ,
thought about the situation with Don Powers and he said "it could
‘be true." Ms. Kinoy further stated that she believed there were
residents in the dorm who may have information or may have been
victims, because. Don Powers had "pets and favorites."

On 5/17/96, while talking with Detective Steve Rowell about ~
another matter, he indicated that a source of his had heard that
Don Powers was under investigation and on nauinistrative leave for

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current abuse of students. Detective Rowell's source did not have
any names of current victims.

During a telephone contact with Kathy Gent on 5/20/96, she
said Richard Virkstis, who is the Director of Development, attended
alumni weekend at- Austine School. She said he spoke with former
students who confirmed there had been sexual activity between Don
Powers and students. However, everyone with whom Mr. Virkstis
talked, denied their.victimization by Don Powers and gave Mr.
Virkstis names of others who were possible victims.

INTERVIEW WITH STEVE MOSHER:

On 5/21/96, this investigator interviewed Steve Mosher at the
Social Services District Office in Brattleboro. Laurie Meyer was
the interpreter. During this meeting, Mr.- Mosher said he had been
sexually abused by 3 staff at the Austine School when he was a
student there. Mr. Mosher named Don Powers, who he identified as
his -coach and shop teacher; a man named Phil, identified as a dorm
supervisor, whose last’ name he could not remember ; and another man
named Andrew, identified as an assistant in the dorm, whose last
name he could not remember.

B82. In reference to abuse by Don Powers, Mr. Mosher provided the
“following information: Mr. Mosher was a student at Austine School
starting in the fall of 1979 and continuing into 1982 when he
graduated. Mr. Mosher indicated that there had been numerous }
incidents of sexual abuse by Don.Powers that occurred in a boiler..’

room at school (4 times), in the gym locker area (5 times) and at’

Don Powers' home in New Hampshire (4-7. times). Mr. Mosher vs
indicated that the sexual contact involved mutual masturbation and ~
oral sex performed on Don. .

Mr. Mosher explained that Don had been his JV basketball coach
as well as his shop teacher. He said that the abuse started in the
shower with Don looking at him. Mr. Mosher described this as a
"come on thing" and said nothing else happened due to 12 other
students being in the shower at’ the time. Mr.- Mosher also

_@xplained that at some point, when-other students were not present
in the shower, Don told him, "you've got a great body." Mr. Mosher
denied that physical contact occurred between him and Don Powers

. in the shower.

Mr. Mosher said physical contact with Don started in the fall
of 1980 in.a boiler room at Austine School. This room was next to
Don's shop. Mr. Mosher said Don had told him‘he should pull down
his- pants and that his and Don's pants were down. Mr. Mosher

- initially said Don "forced" him to "lick off candy" from his.penis.
He then explained that he was’ using a metaphor and that he did not
actually lick candy but that Don- had him 1iék his: penis with his
tongue and Don had said it _was "like licking gandy.". He then said.

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Don did not physically force him, but described it as "more like
begging.” Mr. Mosher said Don would tell him, "I'll teach you."
Mr. Mosher indicated that they also masturbated each other during
this incident.

Mr. Mosher indicated that sone incidents involved him and Don
masturbating each other with their hands. This resulted in Don
ejaculating. Mr. Mosher said on 3-4 occasions, Don "forced" him
to perform oral sex and this was described as Don pulling on his
head. -Mr. Mosher said Don did not perform oral sex on him. Mr.
Mosher said Don would ejaculate into his hand or into a towel ‘but
he never ejaculated during oral sex. .

Mr. Mosher said he had Don for shop class in 1981. Don had
given him an F for a grade. Mr. Mosher indicated that Don offered
to give him a better grade in exchange for sex. -Mr. Mosher said
he had been a student with Don for a number of years. It was not
clear to this investigator if Mr. Mosher received other poor grades
that were raised in exchange for sex.-

Mr. Mosher said Don would invite him to his home in New
Hampshire. They would unload lumber from Don's truck and then they
would have sex. At that time, Don lived alone. Mr. Mosher said
Don would. say, "please, please" when wanting to have sex with hin.
Mr. Mosher said he was afraid they would get caught, but Don told

ps him not to worry because-he had done it many times. Mr. Mosher

said Don had abused other students at Austine School. When asked
who. else Don had abused, Mr. Mosher named Arthur Challis, John,
Russell, someone named Chris and someone named Travis.- When asked.”
how..he knew that all of them had been abused by Don, he said they’
had all said they were gay because they had been molested at
Austine School. He then said none of them had ever identified Don -
:as the perpetrator. He added that he had talked with Arthur
Challis a long time ago and that Arthur said other boys had sexual
contact-with hin. .

Mr. Mosher said Don told him not to teil anyone and threatened
that if he told, he (Don) would pick on him and would say he (Mr.
Mosher) initiated the sexual contact. Mr. Mosher said this is why
he was quiet for many years. Later in our meeting, Mr. Mosher also
said he had not realized that he had been sexually abused. He said
after going to a three day conference last year, he found out he-
could sue for what happened. He explained that: he-did not come
forward sooner because he had gotten the message that the sexual
contact was okay and was not a big deal. He added that he tried
to come forward a year ago but had not know who to contact. He
said a friend had told him to go to the police, but he had not
_ wanted to do that.

. Mr. Mosher said at the time of the abuse, he told
administrators at the school about it. In 1981, he first told John
Fish, who was Dean of Students. He said hg told Mr. Fish that

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"teachers touched" him and asked what he could do to stop it. Mr.-
Mosher said he had not told Mr. Fish about the oral sex with Don
or about the extent of the touching. He said he just said
"touching" and .pointed to his genitals when he told Mr. Fish. Mr.
Fish told him he needed to talk with Mr. Stevens, who was the
principal, and with Mr. Lane, who was the Headmaster. Mr. Mosher
indicated that there was then a series of meetings and during one
of the meetings with the 3 administrators, he had been told that
the "teachers don't do that" and that Don is a "great guy." Mr.
Mosher indicated that several months later, another student, .John’:
Russell, had accused him (Mr. Mosher) of having sexual contact with:
hin. Apparently, Mr. Mosher then met again with -the three.
administrators who challenged his allegation against Don in light
of John Russell making allegations against Mr. Mosher. Mr. Mosher
indicated that he was then suspended from school for two weeks. —

Mr. Mosher said he had been suspended from Austine School. on
three separate occasions for "sex." He then said John Russell was
the only one who had spoken up and that the other. suspensions were
for: fighting with staff and other students.

. Mr. Mosher indicated that in 1981, he also told his nother,
Phyllis Mosher, about the sexual abuse. Mr. Mosher said he told
his mother that there was too much tension and sex happening at

’ Austine School but that his mother wanted him to stay-.in school
because she had paid for him.to attend the school. He said he had
told his mother about "touching" but did not go into detail until
after graduation. At that point, when he was 22 or 23 years old, ._
his mother then told his siblings. Mr. Mosher said his mother is.‘
now. deceased. 7 .

In reference.to sexual abuse by the staff person named Phil,
Mr. Mosher said he could not remember Phil's last name but
described him as Italian. Mr. Mosher said after he would complete
his homework, Phil would tell him to meet him upstairs at Hoyton
. Hall... During their meetings, they would masturbate each- other.
Mr. Mosher said Phil initiated this contact and that it started
with Phil rubbing his shoulders. Mr. Mosher said some force was
involved and described this as Phil. pulling on his hand to make Mr.
Mosher grab his penis. This contact occurred in 1981.or 1982. Mr.
. Mosher said he never told about Phil because of the "hassle" after
he had ‘told about Don. He also said’ Phil was an assistant to the.
dean as well as a dorm supervisor.

Mr. Mosher also described sexual contact that occurred between
himself and the staff person named Andrew, who had been a
substitute in the dorm. He said one or two times, but not more
than three times, Andrew looked at him.and-then grabbed hin and
Masturbated him in the shower. Andrew did this during shower
checks and when Mr. Mosher was alone. Mr. Mosher said Andrew would
tell him to come over ‘and would then masturHate Mr. Mosher as he
stood in the shower and as Andrew remained dregsed standing outside

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the shower. Mr. Mosher said that he had been an emotional mess and
had been afraid he woulda get into trouble. He said he had tried
to push Andrew's hand away. Mr. Mosher said he had not told about.
Andrew because he (Mr. Mosher) had given up.

Mr. Mosher said that after graduating from Austine School he
. told other alumni about Don abusing him. Mr. Mosher said he was
' -yecently contacted by several people who said Don had been accused
of sexual abuse. He calléd Austine and was asked if he wanted to
meet to talk about what happened. Mr. Mosher indicated that he had
also called Jimmy Challis and-asked if Don was in trouble. Mr.
Challis confirmed this but said he could not give him details.- He
said he told Mr. Challis that Don had touched him and Jimny said
he should talk with an investigator or with. Kathy (Gent).

Mr. Mosher indicated that if Don Powers were interviewed, Don
might admit to what happened due to feeling guilty. Mr. Mosher
said he hoped Don Powers would be thrown out of Austine School.
- He said he has not had contact with Don Powers since 1982. He also
said that one time, Don told him he was sorry about the past and
that he had just wanted to help Mr. Mosher be a better student.

Mr. Mosher expressed a lot of anger over his experiences at
Austine School and indicated that his life had been ruined. He
complained that many former students called his home to invite him

. to gay bars and gay. events. His wife answered and spoke with these
/ people. When his wife told these people that he was not’ gay, the
, callers said that he was and had been with them. He said his wife .
: ‘then left him and took their child, fearing he would abuse their-"
- child. He told his wife that he was not gay and that he had been’
a victim. He indicated that he is very angry at Austine School and
| at Don Powers for ruining his life, saying he had been touched’ ‘by
\- Don and other staff as well as by other students.

On 5/21/ 96, this investigator had contact with Karen Richards,
who is an attorney representing the Department of Education. Ms.
Richards expressed concern over the level of. complaints of sexual
abuse coming out of Austine School. Ms. Richards informed this .
investigator that Susan Sien had resigned and that Dominick Bonura
would be acting Executive Director in Ms. Sien's absence. This
investigator understood that Ms. Richards and her associates would

- be meeting with Austine staff in order to make their own assessment
of the situation.

On 5/22/96, this investigator had contact with an anonymous
source who said she had been employed at Austine School twelve to
fourteen years ago. This person said that at the time, a child had
‘confided in her that Don Powers had been physically abusive to him.
This person explained that Don had been the child's basketball
coach. While holding the child down, the child's neck had gotten
hurt.. This caller said that both Don andithe student had lost
their tempers and it got physical. The 4 caller believed the

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incident was covered up. The caller would not identify herself or
the student. She commented that she had also heard rumors of.Don
having sexual relationships with boys.

Note: This investigator had numerous contacts with Richard

Virkstis, who is_the Director of Development at Austine School.
Mr. Virkstis and/or Kathy Gent provided this investigator with a

great deal of information, including names of possible victims and

other informants, as well as written documentation of interviews .

they conducted.. The following is a list of names of people who

were interviewed either by Ms. Gent or Mr. Virkstis and summaries
of statements made by these people:

1. ._Bill Hudson, current school board member and former .
student identified as a possible victim. When contacted
by Ms. Gent, he denied victimization by Don Powers. He
indicated that he thought it was "deaf rumor" and. "hard ..
to believe." .

2. Luke Poquette, former student identified as possible
victim. When contacted by Mr. Virkstis, he denied
victimization by or involvement with Don Powers, although
he indicated he had heard rumors in the past about others
being involved with Don. . :

3. Jimny Challis, identified as a witness to sexual abuse.

, - He indicated to Kathy Gent that he had talked with his
younger brother, Arthur Challis, who is in jail in MA and
that Arthur had told him that Don Powers sexually abused,
him as a child. .

4. David Lunderville, identified as a- possible victin.
During his contact with Mr. Virkstis, he said ‘he had not
. had personal experience with Don Powers, although he had
‘heard rumors.about Don having a relationship with Mark
Limoges (a former student and current staff person).

5. tim Hughes, identified as a former student. He indicated
to Richard Virkstis that he did not know people who had
been’ yictimized and had only heard rumors about Don and
Mark Limoges, as well as suspicions raised about Luke
Poquette, who spent. a lot of time with Don.

6. Steve Regan, identified asa former student and a “former
staff person. He told Mr. Virkstis that he had no.
personal knowledge of students being ‘sexually involved
with Don Powers, although he knew there had been some
experimentation by students in the dorms. He had also
heard rumors about. Don Powers and Mark Limoges being
homosexual.

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7. Steve Mosher, identified as victim. He told Mr. Virkstis
about. Don Powers' sexual abuse of him, which included the
following incidents: In November, 1980, while at a
basketball practice, he and Don undressed and went to the

shower. Don admired his body and said he wanted to touch.

Mr. Mosher's penis. He told Don he did not want to get
caught and Don told him not- to worry because he had done
it before with other students and had not been caught.
Don -kept asking Mr. Mosher to masturbate him and he
continued to say he did not want to, but Don forced hin.
Mr. Mosher told Mr. Virkstis that this activity occurred
4 times with Don in 1980 and that he was also masturbated
by staff named Phil Tintendo and Andrew Cunningham. Mr.
Mosher described that Don forced him to masturbate him
in the locker room in the gym. Contact with Phil and
Andrew occurred in the dorm on the weekerid and in the
- furnace room in the advanced boys dorm. In 1981, sexual

abuse happened in the boiler room near the wood shop and

in the locker room. Mr. Mosher .said- he had gotten an F.--

on his report card and Don offered to change his grade
to a B- in exchange for oral sex ("popsicle"). Mr.
Mosher said this happened three times, that he had low
grades each quarter and had to give- Don sex to improve
his grade. Mr. Mosher said he performed oral sex on Don
during each incident in the boiler room in 1981. Mr.

Mosher further stated to Mr. Virkstis that sex in the.

locker room that year involved both masturbation and oral
sex. Mr. Mosher also said he was forced to do this at
Don's home.- Mr. Mosher said one time he spent the night. .’
at Don's home and Don asked him for "popsicle™ sex. Mr.'

Mosher denied that Don performed oral sex on him. Mr.

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Mosher said in 1981, he told Mr. Fish that Don. had’

touched him several times and that Mr. Fish said "don't
be silly " but agreed to talk with Mr. Stevens and with
Mr. Lane. When he later met with Mr. Lane, Mr. Lane
‘denied that the sexual abuse was possible. Mr. Lane also
said he would talk with Don Powers,’ but there was no

follow up. Five months later, another student, John -

Russell, accused Mr. Mosher of sexual abuse and Mr Mosher
was sent home for two weeks. Mr. Mosher told Mr.
Virkstis that in 1982, there were similar incidents with
Don after school in. the: locker room, mostly in exchange
for’ grades. Mr. Mosher said that Don ha@ approached in
1992°at Alumni weekend and had apologized for "touching"
hin. .

Note: Mr. Mosher was interviewed by Richard Virkstis on 5/21/96,
Which was the same day that this investigator interviewed Mr.
Mosher. This investigator met Mr. Mosher in the morning and
understood that Mr. Virkstis met with Mr. Mosher in the afternoon.
Statements Mr. Mosher made during our separate meetings: were
imeonsistent. Mr. Mosher indicated to Mr. Firkstis that sexual

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contact with Don Powers included an incident in the shower during
which time both of them were showering. Mr. Mosher had told this
investigator that Don Powers had looked at him but had not had
physical contact with him. Mr. Mosher was also able to provide the
last names of the other staff people that he alleged had abused
him, whereas during our meeting, Mr. Mosher said he could ‘not
remember their last names. Mr. Mosher told this investigator that
the ‘last time he saw Don Powers was in 1982. He described that Don

, had apologized for what happened in the past but did not make
- reference to the sexual contact. See written documentation for

further detail.

8. Arthur Challis, identified as a victim. He was recently
interviewed at the’ North Central Correctional Institute
in Gardner, MA by Richard Virkstis. He disclosed that
Don Powers had sexually abused him from the age of 11 to
17. Mr. Challis described an incident that happened when
he was 12 years old. He said he had been at Don's hone,
which had been a mobile home and Don sent him out to work
in the yard. ‘Apparently, Mr. Challis then went into
Don's bedroom at some point. He named other boys that
were there and they were standing over the bed looking
at magazines. Mr. Challis said Don "grabbed me on the
butt” and then "reached around me. and grabbed my
genitals." Apparently, Don then asked if he wanted to
‘look at the magazines. Mr. Challis also told about
contact that. occurred between him and Don in the
intermediate boys' dorm.- He referred to the area as the
janitor'’s roon. Mr.- Challis also mentioned contact..
occurred when he was in the shower, mostly on weekends.’
He described an incident in which Don told him to take
off his towel and then Don exposed his penis to Mr.
Challis. Mr. Challis said Don asked him if he wanted to
touch his penis and said it was "just like in the
magazine." He said Don-made him touch his penis and it
became-erect, Mr. Challis said Don asked him to give hin
a “blow job" and Mr. Challis admitted he put Don's penis
in his mouth. Mr. Challis’ also told about an incident
in which he. was at Don's house and Don fondled him and
-said he wanted to "blow" him. It was not clear if Mr.
Challis was 14 or 15 or 16 years old.when this incident
occurred. Mr. Challis also teld about Mark Limoges
exposing his erect penis to him and asking Mr, Challis
if he wanted to touch it. Mr. Challis was 12 or 13 years
old at the time and he believed Mark Limoges was possibly
15. years. old. Note: Mr. Challis refused to talk with
SRS. See SIU’ case file for copy of transcript of TTY-
‘interview that Mr. Virkstis. had: with Arthur Challis.
This transcript of their meeting documents that Mr.
Challis willingly met with Mr. Virkstis and without

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threat, coercion or the promise of fayors, Mr. Challis
made disclosures of abuse that appeared. to be and
unrehearsed.

9. William Werden, identified as a victin. He was
interviewed by Richard Virkstis, who explained to hin
that his name had been mentioned by two former students
who disclosed abuse by Don Powers and that these students
also said he (Mr. Werden) had been a victim. Mr. Werden
indicated that he had been aware of the sexual behavior
going on but initially denied that he had been involved.
Mr. Virkstis then brought out some Austine year books and
as Mr. Werden "reflected" on the pictures, he identified
three other students whom he said were involved with Don
Powers: Gary Moran, Stuart McKenna and Ron Chaffee. Mr.
Werden did not give details about what occurred between -
these students and Don Powers. Mr. Werden then indicated
that Don used to invite him to his house to do work. Mr.
Werden described that Don wanted to teach him about
masturbation and then proceeded to masturbate him. Mr.
Werden initially denied further involvement with Don, but
later admitted that there had been sexual activity on

oo other occasions and that Don performed oral sex on hin. .

- Mr. Werden did not admit to reciprocating this activity
(ie with Don. Note: See write up from this investigator's
oe interview with. Mr. Werden for inconsistencies. in
statements he made. .

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10. Ronald Chaffee, identified as a victim. He indicated.
that Don Powers. sexually abused him during 1988,.1989 and-
1990. He stated that incidents of abuse occurred at Don
Powers’ home in Swanzy, NH'and on Austine School grounds;
however, he did not give details about what the abuse
involved. See write up from this investigator's contact
with Mr. Chaffee. . -

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11. Chris Perreault, identified as a victim. He indicated

‘that Don Powers sexually abused him when he was 17 years
old.: -The abuse involved mutual masturbation and oral
sex. Note: Mr. Virkstis indicated to this investigator
that Chris Perreault had psychiatric problems at the end .
of his school career. Mr. Virkstis did not have details
about this. See write up from this investigator's
interview with Mr. Perreault.

12. Jeffrey Rowland, ‘identifiea asa victim. He denied
sexual abuse by. Don Powers, but said when he was a
student ‘at Austine,- he had sexual contact with other
students and with a staff person named clitt .

+; , Note: See written documentation of intervie in SIU file.

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During a meeting with Richard Virkstis on 5/21/96, he said an

administrative team meeting was held when allegations of abuse were
made against Don Powers... At that time, Susan Sien was not anxious
to address the issue with Mr. Powers. The administrative team
later met with Mr. Powers and informed him of the allegations and
. told him he needed to be on administrative leave. Mr. Virkstis

‘said Mr. Powers was embarrassed and asked Susan Sien why, saying
_ this had come up before. Mr. Virkstis said Ms. Sien apparently had

received an anonymous letter in the past that she. had not shared mF
with.the team. Mr. Virkstis expressed concern about how much Ms.
Sien had known and when. Mr. Virkstis further stated that when Mr.
Powers went on administrative leave, he asked Ms. Sien if he could
clean out his apartment on campus. Ms. Sien gave permission for
this. Mr. Virkstis expressed concern over not knowing what forms
.or documents Mr. Powers may have taken. Since Mr. Powers cleaned
‘ out his apartment, Alona Ohlson, whd was acting in. Mr. Powers!
"- absence, had given her resignation and was upset that records were
missing. Mr. Virkstis further stated that resident assistants have
told Ms. Ohlson that reports of abuse had been made to Mr. Powers ~
that he then did not report. Mr. Virkstis also said that he was
told by a person that he cannot identify that when Mr. Powers was
a student at Austine, Mr. Powers was abused by a former
administrator. Mr. Virkstis understands that the administrator
_ resigned when he was threatened with public exposure if he did not
resign. Mr. Virkstis expressed great concern over the number of
students Mr. Powers has had contact with over the years. He also
expressed concern over Mr. Powers' hiring practices and said he
hired resident assistants for years who were not educated and had;
no knowledge of child development or human sexuality. *
On 5/22/96, Richard Virkstis provided this investigator with
another mailing address -for Ronald Marsh. On 5/31/96, this
investigator sent another letter to Mr. Marsh, but the letter was
returned by the postal service with the éxplanation that authorized
time to forward had expired.

On 6/7/96, this investigator had contact, with Dominick Bonura,
the acting Executive Director of the Austine School. Mr. Bonura
said that Don- Powers had been asked to resign and that as of
5/29/96, he had resigned from his position at the Austine School.
Mr. Bonura expressed concern over learning that Mr. Fish, who is
still on staff, had not reported the abuse that reportedly had been
revealed to him years ago. Mr. ‘Bonura indicated that he did not
know if Mr. Virkstis had talked with Mr. Fish after this
‘information surfaced.

. “On 6/7/96, this investigator sent a letter to Don Powers
informing him that there had been allegations of sexual abuse by
him and requesting a meeting with him. See letter dated 6/7/96 in
‘SIU file.- On 6/17/96, Mr. Powers responded.:to this letter, but

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this investigator was not able to contact Mr. Powers until 6/18/96.
Mr. Powers then referred this investigator to his attorney, Richard
Carroll.

On 6/19/96, this investigator had contact with attorney
Richard Carroll. > Mr. Carroll said that Mr. Powers had not been
given names of any of the involved students. Hé said Mr. Powers
had been told that the state recommended his dismissal and he was
then asked to resign. Mr. Carroll also inquired about criminal -

‘ charges. This investigator explained SRS investigative procedures
to Mr. Carroll and informed him that the police were not currently
involved since none of the identified victims were 24 years old or
younger.

On 6/20/96, this investigator interviewed Don Powers at the
Social Services District Office in Brattleboro. Tupper Dunbar
interpreted. Mr. Powers' wife, Judy, and his attorney, Richard
Carroll, were present. Mr. Powers indicated that he understood the
purpose of our meeting was to give him-an opportunity to respond
to allegations of sexual abuse against him. Mr Powers said he had
not been told anything about what happened and that he had only
heard rumors that he was involved with homosexuals and children.

- Mr. Powers said he was first hired to work at Austine School
in September of 1972 by Mr. Lane. He started.as an after school
activities coordinator and also held a position in the intermediate
boys' dorm. . Over the years, he has been a-coach and shop teacher
and most recently, was Dean of Students. He said he worked at ~
Austine School for a total of twenty-four years. Mr. Powers...
indicated that he could not imagine why anyone would make‘
allegations against him. He said he always thought he was well -
respected and had -no idea who would have a grudge against -him.

-Mr. Powers indicated that he had been a basketball coach for
seventeen years. When asked about his relationship with Steve
Mosher, Mr. Powers said he did not understand and asked this.

_investigator what was meant. - Mr. Powers appeared to~ hesitate
before he responded. Mr. Powers then asked, "Steve Mosher...?" and ._ .
‘yappeared puzzled. Mr. Powers indicated that Steve had transferred “

. from the Beverly School for the Deaf. He was Steve’ basketball -
coach. He described Steve as a good player and a natural athlete
and indicated that he had gotten along very well with.Steve. Mr.
Powers further stated that when he.was the’head. coach and Steve
Butterfield was the assistant coach, there had been an incident
with Steve Mosher and John Russell, who was another student. He
explained that it was necessary to keep a watchful eye on the boys

- because they had been sexually involved. Mr. Powers then described
that when he. had become the head coach, the: team went to Rochester,

NY, for a game. Mr. Powers said there had been a bad storm and
they were late returning. Mr. Powers drove, the bus. - When they -
‘returned, his assistant coach, Harold, said ainumber of boys on the
bus caught. Steve Mosher and John Russell necking in'the dark. The

22 - A 2468

600023
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two boys were then confronted and were told that the incident
“needed to be reported to Mr. Stevens. Mr. Powers said he reported
the incident, but did not know what happened. Mr. Powers added
that he did not -think this incident carried over into his
relationship with Steve Mosher and they got along okay with no
problems between .then..

Mr. Powers denied ever having Steve Mosher at his house. Mr.
Powers acknowledged that other students had visited him at his
home, but not Steve. When asked who: visited him at his home during
the time period that Steve had been a student, Mr. Powers named
Stan Sanders (his wife's son), Steve Regan and. Frank Baker. Mr.
Powers then said he misunderstood this investigator's question.
This was right after Mr. Powers' wife, Judy, communicated something
to him. Mr. Powers then said he could not remember who had visited
him at his home when Steve Mosher was a student. Mr. Powers
indicated that prior to fifteen years ago the school was "not crazy
about" students going, to the homes of ‘staff. When asked what
reason students might have for visiting his home, Mr. Powers said
he has a construction business and there were some students who
needed money and he. sometimes needed help..

. Mr. Powers denied that he had ever showered with any of his
students. Mr. Powers said the boys changed -and showered in their
dorm before going to the gym. This was the preferred practice.
He then said the boys rarely showered in the gym locker room. Mr.
Powers initially said he never saw the boys shower and added that
at go away games, staff supervised and checked on the boys when :
they showered. He said he always had an assistant coach and either:
he or his assistant checked on the boys when they showered at go-

". away gamés. Mr. Powers said in the dorms, the residential advisors
imonitor students in the showers. .

Mr. Powers said he could‘not remember if he had Steve Mosher
as a student in wood shop. Mr. Powers said he never gave an F to
any student and then said he rarely had given an F for a grade.
He said he also taught math class. .

Mr. Powers acknowledged that there was a boiler room next to
his wood shop. He denied that he had ever. been in the boiler room
with Steve Mosher and said there would be no-reason for him to go

‘into that room. He added that he did not have'a key to the boiler
room and that he only had a key to his wood shop and to the
entrance of- the. building.

- Mr. Powers indicated that he recalled Steve Mosher as a
- student during 1980, 1981 and 1982. He said he did not remember

. having any words with Steve Mosher during an alumni gathering. He
denied that any administrator had spoken to him about Steve's

. allegations. He denied that he had any sexual contact with Steve
:.--. Mosher. .

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In reference to Arthur Challis, Mr. Powers said he had known
Arthur as a student when he was a residential advisor. This was
during the time period of 1972 to 1974 or 1975 when Arthur was 12
or 13 years old. Mr. Powers described Arthur as "difficult" ana
said it was very clear that Arthur "liked- boys." He said Arthur
"acted effeminate” and touched or tried to.touch other boys. The
other boys complained about Arthur. Mr. Powers said he talked with
Arthur about this and tried to work on boundaries with Arthur. He’
said Arthur got mad about this. He said Arthur was not a bad kid
but was annoying to others. Mr. Powers said-he always had to deal’
with Arthur on this and Arthur thought he was picking on him.
Arthur complained to his family about this and his family talkea
with Mr. Powers about picking on Arthur. He said he was just doing
his job. Mr. Powers said he did not see much of Arthur when Arthur
got older. He said Arthur graduated in 1980. Mr. Powers denied
sexual abuse of Arthur Challis.

Mr.. Powers indicated that he -had. first become aware of

"allegations against hin during a. meeting with Susan Sien and- Kathy ~

Gent on 4/28/96. Ms. Sien had told him that something had been
reported to have happened years ago involving sexual molestation.
Ms. Sien had also told him that SRS had said he could continue
working. On the following Wednesday, during an administrative
meeting, people on the team said that due to’ rumors and history
about his-sexuality in the past, he should be on leave. When asked
what he meant when he reportedly told the team "this has come up
before", Mr. Powers said he was referring to the earlier meeting
during which he had first been-told about the allegations. He said .
personally, he had never heard any rumors. Mr. Powers said it was..."
decided that he should be on administrative leave with pay and he’
accepted. Mr..Powers said he was later told by Dominick Bonura
that there were four known victims and that the state had mandated
he leave. Mr. Powers indicated that he was then asked to resign -
‘and did so effective 5/30/96.

When asked what he knew about an anonymous letter being sent
.to the school, Mr. Powers said a letter had been sent to Susan Sien
approximately two and one half years ago. Mr. Powers said the
- letter started out with a positive tone about the good work he had
done with parents. The last paragraph, however, complained that

* he was moody and mentioned rumors that he had molested children

twenty years ago. Ms. Sien said she did not believe what was in
the letter and was not going to go forward with. it. Mr. Powers
believed that either Ms. Sien still has the letter or it was thrown
away.

When questioned about wrestling in the dorm, Mr. Powers Looked
puzzled. Mr. Powers recalled an incident in the dorm sevéral years
ago in which children in the dorm had playfully. attacked him. ‘He.
added, however, that wrestling was not alloweil. He denied that he
ever grabbed the genitals of boys or. that ey ever grabbed his
genitals. 7 .

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On 6/21/96, this investigator - ‘contacted John .Fish, a current
staff person at the Austine School. Mr. Fish said he remembered

' Steve Mosher as a student, but did not remember Steve making any .

complaints about staff at the school. He further stated that he

aid not remember’ Steve. making any allegations of sexual abuse .

against Don Powers and he had no recall of-any meeting between
himself, Mr. Lane and Mr. Stevens and Steve Mosher to discuss any
allegations of abuse. Mr. Fish said he did not remember Steve

’.Mosher being suspended from school and said the only disciplinary

incident he recalled was’ Steve possibly getting violent in the

.dorm. Generally speaking, he remembered Steve as an easy going and

friendly student who was average. —

‘Mr. Fish further stated that he-did not remember Steve Mosher
going to Don Powers' home. He did recall, however, that Don Powers
had some students go with him to help. with his business. When
asked what the school policy would have been regarding students
going to the homes of staff people, Mr. Fish said the policy should

have involved getting parental permission. The bus responsible for -

transporting students would also need to be informed if a student
were not going to be on the bus going home. There may also be some
‘indication in a_ student's file if there had been. parental
permission granted to go home with a staff person. Mr. Fish said
information on former students would be _contained in the "dead
files." -

.Mr. Fish confirmed that there is a boiler.room next to where +}.

Don Power's work shop had been. This room would have been overseen.:
by the maintenance department. Mr. Fish initially said that as a‘
coach, Don Powers' key would fit the lock to the boiler room. He
explained that there is a master key that fits most of the school's
locks and that he has one and that Don Powers would have one, also.
However, during our conversation, Mr. Fish offered to try his key
in the boiler room lock and he did so, but it did not fit.

Mr. Fish said. there. are gang showers in the gym -as well as in
the dorm at Austine School. He said the student athletes always
changed and.showered in the dorm before going to the gym or after.
returning from the gym because it was easier due to the close
proximity of the dorm to the gyn. .

Mr. Fish. further stated that he remembered ‘Arthur Challis as

‘a nice boy and a good student and soccer player. He described

Arthur Challis as conscientious and getting along well. _He.did not
recall -disciplinary problems: with. Arthur nor did he recall any
sexual acting out problems with Arthur.

On 6/21/96, this investigator contacted ‘Richard Lane; the
former Headmaster of Austine School. He said he remembered Steve
Mosher as a big "overgrown" kid in whom his parents took a lot of

‘interest. He said: he. did. not remember’ Stev§ Mosher complaining

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about Don Powers touching him or sexually abusing him. He said if.
there had been any allegations about any staff, he would have
dismissed the staff person. He said he had known Don Powers as a
student and described him as an "exemplary student" and as a
"leader." He said he hired Don after he had completed college anda
that there had never been any concerns raised about Don..

Note: During contacts with Richard Virkstis, this
investigator requested access to and/or information from Steve
Mosher's closed school records in an attempt to corroborate
information that had been gathered. However, according to Mr.
Virkstis, he was not able to find Steve Mosher's records due to old
school records being unorganized and improperly filed.

During a contact with Richard Virkstis on 6/26/96, he said he
had contacted William Werden, a 1992 graduate from Austine School.
Mr. Virkstis: said he had contacted Mr. Werden for the’ purpose of
asking him if he had been victimized by Don Powers. Two former .
students had given Mr. Werden's name to Mr. Virkstis. When Mr. -
Virkstis met with Mr. Werden, Mr. Werden initially denied that he ~—
had been victimized by Don Powers, but he mentioned the names of
other former students who were victims: Ron Chaffee, Gary Moran,
Stuart McKenna. Mr. Werden had indicated that’ he had witnessed the
victimization of these students and then became vague and did not
give any details. Mr. Virkstis said he believed Mr. Werden was
-hesitant about what information he should give about these former
students. Mr. Werden then indicated that he had been .a victim of
Don Powers and that his abuse began with masturbation when he was}
“14 years old. Mr. Virkstis did not know if there had been mutuals .
masturbation between Mr. Werden and Don Powers. Mr. Werden had’
also indicated that he had received oral sex from Don Powers. He
_first indicated to.Mr. Virkstis that this occurred 2 times and then
said-it was several times. Note: Mr. Virkstis described William
Werden as intellectually limited. Also see written documentation
provided by Mr. Virkstis regarding his meeting with William Werden.

'" On 7/1/96, this investigator contacted Patricia Werden,
William Werden's mother, and confirmed a meeting time with Mr.
Werden for 7/2/96. Ms. Werden thought this investigator was
meeting with her son for the purpose of discussing his SSI
benefits. This investigator explained that the purpose of the
meeting involved allegations of inappropriate behavior by staff at
Austine School. Ms. Werden confirmed that her. son had been a
student at Austine, first as a day student and then as‘a dorn
resident starting at age 4 or-5. He came home on weekends when he
was a-.dorm student. Ms Werden said her son never made- any
complaints about staff. She added that once in awhile, he had
general complaints, but described these complaints as nothing
major. He used to talk regularly with the school counselor, Jin.
Bombicina, who was his confidante. -She beliéved her son would have
. told Mr. Bombicina about any problems he vai having. ,

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INTERVIEW WITH WILLIAM WERDEN.

On 7/2/96, this investigator and Detective Rick Andrews
interviewed William Werden in the Brattleboro Social Services
District Office. Laurie Meyer interpreted. Because of Mr.
Werden's current age (24 years old),-this investigator requested
police assistance so a criminal case could be prepared if warranted
by the gathering of sufficient information. Note: During this
interview, Mr. Werden appeared to be confused about what he was
told by Mr, Virkstis about the victimization of other former
students as opposed to what he actually witnessed happening or was
told by past victims. Much of the meeting time was spent on
clarifying questions to Mr. Werden or clarifying his responses to
questions.

Mr. Werden said Richard Virkstis had contacted him and asked
him to come to Austine School regarding something to do with Don:
Powers. Mr. Werden then indicated that Don Powers had sexual
* contact with students other than himself. He then named Ronald -
Chaffee, Gary Moran and Stuart McKenna and indicated that he knew
Don Powers. had ‘sexual contact with these three students. He then
named Tim Hughes, another student, and said something about
pictures out of the year book. Note: Richard Virkstis had
_ previously told this investigator about a 1992 year book that
belonged to Don Powers which had several pictures of students cut
out. Mr. Virkstis had wondered if student cut out of the year book
had been victims of Don Powers.

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When ‘asked how he knew that the aforementioned students had?’
been victimized by Don Powers, Mr. Werden began by talking about:
Ronald Chaffee.. Mr. Werden explained that Don Powers had asked Ron
to come into his office to talk about something private. Mr.
Werden then said he could not see through the window so:he did not
know what happened. . He then said he saw and heard Ron and Don
Powers talk and agree about ‘something and Don used the sign. -:
"private." Mr. Werden then began talking about students wrestling
on .the ground and that. Don Powers wrestled with young kids on the
floor and the kids got emotional and. this is how Don Powers had
contact. Mr. Werden then said he.never saw any wrestling with Don
Powers. Mr Werden then said he. heard about sexual contact, but did ~~
not see it and did not see through the door (regarding Ron Chaffee) .
and that some kids told him about sexual contact. Mr. Werden said
the other two students he mentioned had emotional problems. He
went on to say that Don Powers held them down and tried to handle
them and he probably held them and touched the lower parts of their
bodies. Mr. Werden said someone told him this and when asked who .-
he said probably a student told him: Mr. Werden. then said he saw
-_Don Powers wrestle with Gary and saw Don touch Gary "near the
balls.” Upon further questioning, Mr Werden described that Don had.
his -arms around Gary's mid-section but he inever saw Don touch
Gary's penis’ or genital area. “Mr. Werden t said he wanted to
tell us..an opinion. He then stated that — Virkstis told him

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1:03-cv-00005-jgm. Document1 Filed 01/06/03 Page 48 of 76

about the shower room when playing in the gym. He further stated
that Mr. Virkstis said Don went into the’ shower and had sexual
contact with students, but he (Mr. Werden) did not know about it. |
Mr. Werden then said there were other kids Don had sexual contact
with but not with him (Mr. Werden). No other kids told him about
sexual contact in the. showers. Then Mr. Werden said students tola
him: that Don Powers had sexual contact with them. When asked who
told him this, he named Mike Carter and Stuart McKenna. When asked
what Mike told him, Mr. Werden said Mike told him that other kids
- had sexual contact with Don but that he (Mike) had not. Then Mr.
Werden said Mike said he had sex and it was great. Mr. Werden then
said Mike said he had heard rumors.

When asked about his experiences ‘with Don Powers, Mr. Werden .-
said he had gone to Don Powers’ house when he was 16 years old.
This was in 1987. He explained that he had been scraping the roof
and sanding the floor at Don's house.in Keene, NH. He said Don had
done something to him that was "wrong" , and that he "jerked me
off-.." He indicated that Don had used his hand, not his mouth. Mr.
Werden indicated that this was why Don had cut out pictures from
his 1991 year book. It was not clear how Mr. Werden knew this or
why he believed this to be the reason. He denied that ‘any sexual
contact with Don occurred in Brattleboro and he denied that he had
done anything to Don. .

Mr. Werden initially said he had been at Don's home on two
occasions. He indicated that the first time he had been at Don's
house, Don masturbated him. He said it was probably in the Fall

and that he had probably been outside near the corner of the house..:
During the second visit to Don's home, nothing happened.. -

When asked what Don said before masturbating him, Mr. Werden’
initially said he did not remember. He then said he (Mr. Werden)
had been sanding inside the house and Don catie to where-he was and
said he wanted to show him how to "jerk off." Mr. Werden said he
did not say anything.to Don and just went along with Doh. Mr. -
Werden said contradictory things about trying to stop Don, but that
he did not because he did: not tell Don’ to stop and that he had not
known that sexual contact would happen. He said he never said no.
to Don. Mr. Werden indicated that he probably did not say no to
Don. because he had not had enough courage to say no. Mr. Werden
said Don had expected to do it but he (Mr. Werden) had not expected
the sexual contact. He said he could have told Don to stop’ but he
didnot do that. He said he believed Don would-have stopped if he
had said no. Mr. Werden said it had been his choice to go to Don's
house and that sometimes he. said no to going to Don's house. He
went to Don't home because Don-had needed help.- Visits to Don's
house were after school hours, not during the school day. He said-
-he had gone to Don's house eleven to sixteen times over the years
“to help. Don. Sexual contact with Don occurred only one _tine.- Mr.

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Werden: denied that sexual contact with Don occurred at Austine
School or in Brattleboro, VT. Mr. Werden said Don only used his
/ hand to touch him. ,

When asked about his meeting with Richard Virkstis, Mr. Werden
.said he had ‘gone to his office and "that's when he told me." Mr
Werden then said he had not known what happened at Austine School.
Mr. Werden indicated that Mr. Virkstis had talked about Don and
other students and then had asked Mr. Werden some questions. - He
further said that he had been in shock and had not known. Mr. _.
Virkstis told him all the names and showed him a sheet of paper -
with all the names on it and asked about those who had been named.

During a later contact with Detective Rick Andrews, he said
he had referred the matter involving William Werden to Sergeant
Lester Fairbanks of the Chesterfield, -NH Police Department.
Detective Andrews indicated that his understanding was that the
matter would not be pursued in New Hampshire because the age of
consent is 16 years old.

. On 7/3/96, this investigator contacted Richard Virkstis and
again cautioned him about questioning potential victims as well as
advised that he not suggest the name of the accused to people he
- interviewed: During this contact, Mr. Virkstis said there has beer
indication given to him that Don Powers had contacted people and
asked them not to--say anything if questioned about Don. Mr. .
Virkstis also said that a woman named Linda Todd who used to work? * ’
at Wheeler House as a case manager had-indicated that eight people
confided that they were victims of someone. Apparently, Ms. Todd-:
had ‘also indicated that another staff person should be investigated’.
as a perpetrator. Mr. Virkstis was somewhat vague and said it was
unclear if Ms. fodd@ was talking about Don Powers or this other
staff person in regard to the alleged eight victims with whom she
had spoken. Mr. Virkstis indicated that he would contact Ms. Todd .
for more specific information.

On 7/24/96, this investigator had a meeting with Richard
Virkstis and Dominick Bonura at the Austine School. Virginia Nolan
interpreted for Mr. Bonura. During this meeting, Mr. Virkstis said

_he has been given indications that people are afraid and this is
why they have not .conie forward sooner. Both Mr. Virkstis and Mr.
Bonura said it is harder-for deaf people ‘to disclose abuse due to
the small nature of the'deaf community and because everyone knows
"-everyone else and there is a sense.of loyalty. They added that
because deaf people do not see a consequence to Don, they feel
threatened by his presence in the comnunity.

Note: After several attempts to contact. Mitchell Trombley by
telephone, this investigator sent a letter to him on 7/25/96
regarding concerns he may have about behaviér his gon reportedly
witnessed between Don Powers and current stndents in the dorms.
Mr. Trombley ‘never responded to the letter that was.sent to him.

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Note: Richard Virkstis had told this investigator that Mr.
. Trombley intimated that his son -may have witnessed Don Powers
_ fondling students in the dorm.

INTERVI WITH CHRISTOPH PERREAULT

. On 11/6/96, this. investigator interviewed. Christopher
Perreault at the Social Services Office in Waterbury. Joan
Pellerin interpreted. Initially, Mr. Perreault expressed that he
was not willing to talk with this investigator, although. he
acknowledged that something had happened to him in the past when
-he was a student at the Austine School. Mr. Perreault expressed
anger towards Arthur Challis, who he said he was mad at for giving

* out his ‘name. Mr. Perreault was quickly persuaded to talk with
this investigator after learning that risk to current students was
being assessed. Mr. Perreault indicated that he had sexual contact
with Don Powers; He further stated that this contact was initiated
by Don Powers when he (Mr. Perreault) was 17 years old. Mr.
Perreault said he had lived -in -the school dorm at the time. ‘When
asked for details, Mr. Perreault said he and Don Powers had sexual
contact a few times and this occurred in Don's apartment in
Brattleboro. He denied that. they had sexual contact on school
property. Mr. Perreault said he thought Don had sexual contact

- with other students on school grounds, but he was. not sure. Mr.
fss, Perreault indicated that the contact he and Don had together
“+ Gjneluded mutual masturbation and mutual "blow jobs", which was.

_described as the mouth on the penis. Mr. Perreault explained that
he had been friends with Don for a long time. He first met Don ~
when Don was a dorm supervisor and he thinks he may have been 13.

- or -14 years old. Mr. Perreault said he was 17 years-old and a’.

’ Junior when Don first approached him. He explained that Don came
up to him and asked if he wanted sex. Mr. Perreaulat denied that
Don ever made any threats or told him not to tell. Mr. Perreauit
said that he had: been weak and had not wanted to hurt Don's
feelings. He described..Don as a friend and-indicated that. he had
looked up to ‘Don who had been his JV and Varsity coach. ~ Mr.
Perreault said sexual contact between him and Don. did not occur
during. his senior year at Austine School. Mr. Perreault said he

aduated in 1980 and: then went to college. After college, .he
returned home. He later saw Don at various events, but has not

* seen him during the past four years. Mr. Perreault indicated that

_.. he started hearing rumors about Don, although it was not clear when

_he first heard the rumors. Mr. Perreault said approximately ten
years after graduating from Austine School, he had heard rumors
about Arthur Challis:and Don." Later, Arthur told him about Don,

-; , but no one else has told him about sexual contact with Don. It was

. mot clear to this investigator when Arthur and he spoke. He. then

-igot a letter from Dick Virkstis and met with Mr. Virkstis in August

. | .or September, 1996. During their meeting, Mr. Virkstis told him

\ about the sexual abuse.-. Mr. Perreault indicated that he was afraid
of revenge by Don. . \ :

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On 11/8/96, this investigator spoke with Richard Virkstis.
Mr. Virkstis said prison officials may not have communicated to
Arthur Challis why this investigator had wanted to talk with him..
Mr. Virkstis also said that when he had met with Mr. Challis, Mr.
Challis had indicated to him that he was willing to talk with this
investigator. Mr. Virkstis later contacted supervisor George
-Karson and informed him that Arthur Challis had recently spoken .
with. his brother, Jimny Challis, and’ had expressed interest in. --
talking with SRS. See SIU case file for letter dated 12/6/96. | ~—
Note: To date, this investigator has not had contact from Arthur
Challis.. In the. event that Mr.-. Challis responds to the
aforementioned letter, it may be necessary to attach an addendum
to this report.

During this discussion with Mr. Virkstis, he suggested how
contact could be made. with Ron Chaffee, another former student who °
had been. identified as a victim of sexual abuse by Don Powers.
This investigator was given the name of Rene Pellerin, who is Mr.
Chaffee's vocational . rehabilitation counselor.

This investigator asked Mr. Virkstis if there were any other
students who had been identified as victims of sexual abuse by Don
Powers. Mr. Virkstis said a former student who is or has been on
staff said she had witnessed Don with a student when she was a
student at Austine. This person asked that her.name not be
repeated. This investigator told Mr. Virkstis that both he and
this staff person were mandated to report suspected abuse. Mr.
Virkstis said he did not know the name of the student who was}
allegedly seen with Don; however, he revealed that the staff.
person's first name was Madonna. Mr. Virkstis agreed to contact’
this person and instruct her to make a report. Mr. Virkstis
further stated that during the initial stage of the investigation,
another former student, Robert Boggess, came forward and reported
to Mr. Virkstis that he had sexual contact with Don. However, Mr. °
Boggess then recanted this. Note: To date, "Madonna" has not made
a report to SRS. .

On 11/11/96, this investigator contacted Rene Pellerin via
TTY. Due to confidentiality concerns, Mr. Pellerin indicated that
he could not provide an address or telephone number. for Ronald
Chaffee. However, he agreed to ask Mr. Chaffee to contact this
investigator. ,

NT EW ‘WITH RONALD CHAFE E

on 11/14/96, this investigator contacted Ronald Chaffee via
TTY.: This investigator also communicated with Rene Pellerin, who
assisted with communication. - During this’ contact, Mr. Chaffee ‘~
said: he and Don Powers had sexual contact on numerous occasions
during a five or six year period of time when Mr. Chaffee was 13 .
years old and a student at Austine School. ‘Mr. Chaffee indicated
that abuse occurred both .on school ‘property 4nd at Don!s home near.

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Keene, New Hampshire. Mr. Chaffee said Don often made arrangements
for them to meet in Don's campus apartment and Don would have hin
sneak out of his dorm room to meet him. -Mr. Chaffee indicated that
the sexual contact included masturbation, oral.sex and anal sex..
Mr. Chaffee indicated that the abuse started when he lived with
Don, who was actihg as a foster parent due to problems Mr. Chaffee
had been having at home. Mr. Chaffee said he accepted the sexual’
contact from Don because Don threatened to kick him out as well as
threatened to make another placement difficult for him to find.
Mr. Chaffee said two other students, Ron Marsh and Tom Steere, told
him about Don victimizing then. See. SIU case file for TTY
transcript dated 11/14/96 for further details.

- . On 12/5/96, this investigator met with Don Powers in the
~ Social Services District Office in Brattleboro. His wife, Jidy,
and his attorney, -Richard Carroll, were present. Janice Cagan-
Teuber was the interpreter. This investigator provided Mr. Powers
with the names of the former. students who had made allegations of
abuse against him. Mr. Powers denied that he sexually abused Steve
Mosher, Arthur Challis, William Werden, Ron Chaffee and Christopher
Perreault. When asked why these former students, all of various
ages and in attendance at Austine School at different times would
-make these allegations if the allegations were not true, Mr. Powers

ai :“indigated ‘that there could be various reasons. He then explained
AS, 2... that in 1990 or 1991, David Muse, who was the president of the
“Alumni Association,. went to Susan Sien with concerns about him (Mr.

4” Powers),. At the time, an administrative meeting was called and.

-£ ‘se Richard Virkstis attended that meeting. Mr. Virkstis told Mr. ?

we Powers. not to worry, that the concerns involved "old stuff" that.
happened six or seven years in the past. Mr. Powers said ‘he went’
directly to David Muse and learned that two boys, Arthur Challis
and .Kevin Hopkins, had shared information about him. Mr. Powers
said Arthur Challis blamed him for his problems because he (Mr.
Challis) was in jail. Mr. Powers said Arthur had accused him of —
"goosing" him at a basket ball game and that it led to his
‘problems. Mr. Powers said that Kevin Hopkins said he had showered
with him in the locker room. Mr. Powers denied that these events
ever happened. Mr. Powers said he warned David. Muse that if people
persisted with these kinds of rumors, he would bring court action
against then.

Mr. Powers said then, three years later, an "anonymous letter
was sent to Susan Sien. Mr. Powers comnented that he believed
staff thought the rumors were’ true because he sometimes took

’ students out as a reward for good behavior. He added that he took
both boys and girls out. Mr. Powers proceeded by saying that two
years ago, Ken Lambert called him and asked- if his wife was
-Givorcing him. When asked why-would his wife divorce hin, Mre
Lambert said he had heard rumors that Mrs. Powers had canght Mr.
Powers having sex with -a guy. Mr. Powers said he followed up on
this rumor and learned that Dominick Bonura's son and his brother
shared information about his "history."- Whed asked. what he meant

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by "history", Mr. Powers said that was the word that others had
‘used in reference to-him. Mr. Powers then said that three years
“ago, Nancy Bonura worked for him at the school. He indicated that
they did not get along. - She then left. and went to work for her
father, Dominick Bonura. Mr. Powers.said that he then heard that
._Dominick wanted to get rid of him so he could. bring his daughter |
Nancy back. -Mr. Powers further stated that. Jimmy Challis and
Dominick Bonura belong to a fraternity that is the rival of his
(Mr. Powers) fraternity. Mr. Powers then said that he had Clint
Casella removed from Austine School and his father, Steve Casella,
Sr. then said he (Mr. Powers) had abused children. Mr. Powers
added that Jimmy Challis worked with Clint Casella over the summer. |

- This investigator reminded Mr. Powers that at our last
meeting, he had denied knowledge: of rumors and could not think of
aa any grudges people might have against him. When asked why he had
-not discussed’ these concerns at our last meeting, Mr. Powers said.
L, “he wag gshocked-at our last meeting over the allegations and was
oo ‘g) trying to ignore the situation and this is why he did not
7.’ previously bring up the rumors he had heard. Mr. Powers further
. stated that at the time of our last meeting, he had not been aware
ef grudges against him; however, he was recently approached by
‘friends who told him about these grudges. Mr. Powers then -
' complained that people have told him that they have told Richard
Virkstis about: Dominick Bonura being abusive in the past but that
Mr. Virkstis has told these people he only wants to hear about Mr.
Powers. Mr. Powers identified these people as Jean Carr and Mark
Limoges. He: then explained that Ms. Carr told him that Mr. 3
Virkstis had wanted to speak to_her about Ron Marsh. Apparently,.?
Ms. .Carr tried to talk with Mr. Virkstis about Dominick Bonura'
hurting her and other students in the past but Mr. Virkstis -
reportedly did not want. to talk about that. .

This investigator told Mr. Powers that information -he had
presented still did not explain why five former students of various
ages and in different classes would make’ allegations of: sexual
abuse against. him. Mr. Powers then said when Ron Chaffee was a
student at Austine School, he had a history of lying. Mr. Powers
said he tried to help Mr. Chaffee: straighten out. He further
stated that Mr. Chaffee lied and made up stories about everything,
including that his mother beat him and that.he was sexually abused.
Mr. Powers said William Werden worked for him for several summers
‘but ohly came to his house one time. This was when he and his wife -
moved from Keene, NH to Gilsum, NH. His stepson, Stan; Mike Taylor

_ and Mike: Carter also helped with the move. Mr. Powers described
Chris Perreault as someone who tended to fantasize. Mr. Powers
further stated that Arthur Challis and Chris Perreault were in ‘the

", same class in school. Mr. Powers further described William Werden

" as “easily swayed and led." He said William Werden is friends with
Lyman Lawyer and with Mike Palmer and that hé_ had fired Lyman for
fooling around with and touching students onjthe bus. Mr. Powers
stated that Arthur-Challis' mother and Steve Mosher. are _friends and |

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both of them are in debt and trying to get money. Mr. Powers

complained that they were trying’ to make it look like he was

responsible for the trouble Arthur Challis had gotten into. mr.
Powers also indicated that he thinks there is a, connection between
Dominick Bonura and hard feelings he has about the situation that
occurred with his daughter. Mr. Powers complained that the Bonura
children, Nancy and Tony, now are both working at-the Austine
School. ,

Mr. Powers. further complained that Jimmy Challis and Dominick
Bonura have been the "spearheads" to the investigation and that
both of them have had "axes to grind." Mr. Powers then said that
he was told by people that Dominick Bonura raped three girls when

he was a staff person at Austine School.- Mr. Powers said he had ©

not heard this from the alleged victims. Mr. Powers. then told

‘ about ‘a situation that occurred with Dick Bonura, Dominick's

brother, in 1990. Dick Bonura had been a staff person who had been
asked to leave. After he left employment with the school, two
students turned up missing. When they later-returned, they were
both intoxicated. The girl, named Laura, was hysterical.:.The boy,
Wayne Erickson,’ said they had been given alcohol at Dick Bonura's
apartment and that Dick had sex with Laura in the bathroom. Mr.
Powers said he wanted to report the matter to the police, but that
Mr. Stevens said "no" dué to concerns about Dominick Bonura, who

was on the school board. Mr. Powers said that the Bonura family.

later found out that he knew about the situation and Mr. Powers
indicated that there may be a connection to William Werden and the

allegations he has made. Mr. Powers ‘also said that Alex and Nancy. _

* Bonura were contacted by Jimny Challis who asked them for telephone?

- him concerning a:hazing incident that he was involved with as a _

numbers of former students so he could contact them: to ask’

questions about abuse.
Mr. Powers then said that Jimmy Challis had a grudge against

student. Mr. Powers said that Mr. Challis and seven other boys

heated wire coat hangers with friction and burned another boy's

" back to make him a mans . When the injury was discovered,. Jimmy
Challis was identified as being involved. He was ‘initially .

suspended, but then was.expelled. Consequently, Mr. Challis was.

not allowed to participate in the graduation ceremony and did not

-xreceive any honors. Mr..Challis had asked. Mr. Powers to intervene

on his behalf but Mr. Powers refused and Mr.. Challis was very angry
with him. Mr. Powers said’ Mr. Challis is still angry with hin.

When asked about his past places. of residence, Mr. Powers said
he lived in Brattleboro at various locations starting in 1980. He
first had an’ apartment on South: Main St. and then moved to an
apartment at the Brooks House. From. there, he moved to’ the
Brookside House and then to the Mountain Home Trailer Park. He
gave the following names of students whe visited him at his

Brattleboro residences: His stepson, Sta; Mark. Limoges, who -

visited off and on due to going ‘away to colleye; Jimny Clark; Steve

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Regan; Creighton King. He said Arthur Challis, Steve Mosher, Ron
Chaffee and Chris Perreault never visited these residences. In
1984, he met his wife and they were married in 1985. At that time,
they moved to. Keene, NH and from there moved to their current
residence in Gilsum, NH. Mr. Powers said the only students who
visited him in NH were Eric Putnam, Frank Baker and Luke Poquette.
Mr. Powers also said he had an apartment on the school campus.

‘ Students were not allowed to visit in the apartment. He added that

at one time, he had a room on campus that was part of an open unit ©
in the high school.dorm. His room was open until bedtime, at which

‘point there was also a dorm supervisor present. He said Mark —

Limoges visited him there when he had. that roon.

When asked if he had ‘ever received any treatment for sexual
abuse of children, Mr. Powers said. he had not. He further.
indicated that there would be no reason for him to participate in|
such treatment since he had not sexually abused any children,

On 12/19/96, this investigator contacted Dr. Ray Stevens, a
former administrator at Austine School. Dr. Stevens indicated that
he remembered Steve Mosher but’ did not recall any incident or
problem reported by him ‘concerning any staff person sexually
abusing him. Dr. Stevens said he rememberéd Steve as. a tough kid

‘and thought Steve might have gotten caught doing sonething with a

girl. Mr. Stevens further . stated -that sometimes students
complained about how staff treated them or just griped about staff,
but any report of sexual abuse would have been reported and
investigated. Dr. Stevens then gave examples of people being ;

. dismissed in the past due to their behavior. He cited an example,’
- .0f a staff person bringing a student to his dorm room to. show the’

student a pet. snake. This person was immediately let go from
employment... In another situation, a staff person had - been
dismissed for kissing. a. girl, and in a third example, he mentioned
a staff person being dismissed due to one student reporting that
the staff had gone into another student's roon. Dr. Stevens said .
the biggest fear in any deaf school is. staff sexually abusing
students. .«He’said the slightest suspicion would have resulted in.
a stare person's dismissal. °

Dr. Stevens: indicated that he was. aware of the recent
allegations of sexual abuse against Don Powers and said he was
"totally shocked." When asked how he knew, Dr. Stevens said he had»
heard through the "grapevine." Dr. Stevens said he had heard that
Stéve Mosher ntiade allégations of abuse and had said that he told

administrators. However, Dr. Stevens denied-this, saying he would
- have done something at the time. Prior to this recent allegations,

Dr. ‘Stevens had not heard: any: rumors or suspicions concerning Don’
Powers contact with children. However, Dr. Stevens also said that .
Don spent a lot of time with a lot of different students so he (Dr...

Stevens) was very watchful. Dr. Stevens said that he and Mr. Lane
sometimes talked together about all the ime Don spent with

children and they asked. each other if eitheg felt that something
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was going on between Don and the children; however, they told each
other no, this. was not the case. Dr. Stevens further stated that
he initially did not hire Don as Dean of Students due to his bad
temper, his frequent tardiness and -his poor paperwork skills.
However, the second time Don applied for the position, he was
hired. Dr. Stevens said:he would not have hired Don if he thought
abuse had occurred. In addition, Dr. Stevens said he had heard
that others had come forward. He said he was surprised but that
it was hard to believe that there was some conspiracy against Don.

On. 12/19/96, this investigator contacted Richard virkstis to
‘confirm: that Phil Tintendo, Andrew.-Cunningham and Cliff (last name
unknown) are indeed no longer employed by Austine School. Mr. .
Virkstis confirmed that Mr. Tintendo and Mr. Cunningham do not work
at the Austine School. Mr. Virkstis said he was not aware of their
whereabouts, although he heard Mr. Cunningham was living somewhere
in MA. Cliff was not a staff. person that Mr: Virkstis knew of.
Note: Jeffrey Rowland had previously told Mr. Virkstis that he had
sexual contact with a staff person named Cliff. See SIU case file
for written documentation of their conversation. Mr. Virkstis said -
he would inform this investigator if he learned more about these
former staff people.

Mr. Virkstis said that on 12/18/96, he was contacted by Rene .
Pellerin. Mr. Pellerin informed him of contact Don Powers had with
a woman named Barbara Wagner. Mr. Virkstis understood this person
is an interpreter... Mr. Virkstis further stated that his
understanding is that Don made some kind of threat about a counter}
suit. Mr. Virkstis did not have any details. Note: See SIU case.
file for a.transcript of a TTY conversation between Don Powers and’
Barbara Wagner. Ms. Wagner gave this transcript to Rene Pellerin
who then gave it to Supervisor George Karson. In summary, the
transcript documents Mr. Powers' attempt to have.Ms. Wagner talk
with Ron Chaffee about the seriousness of his allegations and to
ask him to carefully consider his actions. Mr. Powers also
mentioned that he could take.legal action against Mr. Chaffee.

on 12/23/96 , this investigator contacted Richard Virkstis to
“obtain dates of birth and years: of graduation-for the 5 identified
victims. Because of William Werden's current age (24 years old),
Mr. Virkstis questioned why criminal charges had not been brought
in his situation: -“Mr. Virkstis expressed concern over the deaf
community's perception that- Don had not received any consequence
for his behavior since no charges’ had ‘been filed. We discussed ~
jurisdiction and.this investigator informed Mr. Virkstis that the
matter involving. William Werden -had -been referred to the New |
Hampshire police, since that is where the abuse occtrred. Mr. ~
Virkstis said when he met with William Werden, Mr. Werden told him
the abuse had occurred at Don Powers’ home in West Brattleboro.

Th Mr. Virkstis also’ wanted -this investigator to know that an
alumni told hii that another alumni who used be presjdent of the

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‘alumni. association went Susan Sien 4 or 5 years ago with complaints

.orY concerns about Don Powers when this alumni was a student. Mr.

Virkstis said he did not know any details and did not know if this
alumni was a victim or only had information.

As follow ‘up. to our previous conversation, Mr. Virkstis said
he had an‘address for Andrew Cunningham and he believed he works.
in a bookstore. Mr. Virkstis said he did not know if Phil Tintendo
or Cliff currently worked with children.

On 12/24/96, this investigator contacted Don Powers through
TTY transmission for. the purpose of obtaining more information

‘about his report. of possible sexual abuse of a student named Laura

by Dick Bonura. See write up of previous interview with Don
Powers, dated 12/5/96.

Mr.. Powers provided the following information: “Laura's last |
name was Lunderbills and he believed she was actually a resident -
of Burlington, Vermont. At the time, Laura would have been 15 or-
16 years old, so he believes she is now 21 or 22 years old. Dick _
Bonura was living on-Indian Street or Road in Hinsdale, NH at the.
time of the alleged incident. - Laura did not make a statement and
was described as uncooperative. Another student, Wayne Erickson,
told _what happened between Laura and Dick Bonura. This
investigator informed Mr. Powers that this information would be
referred to the police and that the police may contact him if need
be. See SIU case file for TTY transcript: dated 12/24/96.

On 12/27/96, this investigator contacted Sergeant John Dudek. * *
of the Hinsdale, NH Police Department to inform him of the. report:
of possible sexual abuse’ of Laura Lunderbills by Dick’ Bonura.
Sergeant Dudek said he would look into the matter; however, in
order to bring charges, he will need to track down the witnesses

and get a statement from the alleged victim.

on 12/30/96, ‘this investigator was paged by Richard Carroll,
attorney for Don Powers. Mr. Carroll wanted this investigator to
know that Mr. Powers was scheduled.to take a polygraph examination’
on 1/10/97. Mr. ‘Carroll asked this investigator to postpone.the
completion of my report so the polygraph results could be included.
This investigator told Mr. Carroll the polygraph results could be
written in an addendum to the report.

Mr. Carroll further stated that he had met with Mr. Powers
prior to ‘contacting me. Mr. Powers told him that he -and Mark
Limoges went to:-where William Werden works at the Hinsdale ‘Race
Track and questioned him. According to Mr. Powers, Mr. Werden-
denied that he said he had been abused. Reportedly, Mr. Werden
said Richard.Virkstis had called him to his: office and told him
that Don had abused others and: asked him if Don had abused him, as
well as. asked what happened. Apparently, Mr.\ Werden also told Don
that Mr. Virkstis told him he should talk’ wit the police, and with

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SRS. Mr. Carroll indicated that he was planning on interviewing

William Werden and asked if I wanted to be present. This
investigator told Mr. Carroll I would advise my supervisor of his

: plan. This investigator also said I did not believe I would be.
sitting in on his interview although I may interview Mr. Werden ..

again. >

CONCLUSION:

Based on information gathered during this investigation, there
is accurate and reliable information that would’ lead a reasonable
person to believe that Don Powers sexually abused Arthur Challis,
Steve Mosher, William Werden, Ron Chaffee and Chris Perreault when
they were students at the.Austine School and he was serving in a
caretaker role. Although Mr. Powers denied the allegations against
him and intimated that there is a conspiracy against him for
various reasons, it does not seem believable to this investigator
that’ five former students, all of: different ages who attended —
Austine School at different times and who currently live in
different parts of Vermont as well as outside of Vermont and
others, would make false allegations of sexual abuse as part of a
conspiracy to remove Mr. Powers from his position at Austine
-School. Due to Mr. Powers' history of abuse, as documented. in this
report and because he has not received any treatment to address his -
sexual offending behavior, Mr. Powers, when employed by the Austine
School, posed a substantial risk of harm to the students.

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Approval —
George Karson °
Special Tnvestigations Unit Chiier

-c: John Swartz, District Director, Brattleboro

Linda Kapuscinski, Assistant Operations Manager

Paul Hager, Residential Licensing Chief

Dana: Lawrence, Residential Services Coordinator .

Dan Davis, Windham ‘County State's Attorney

Detective Rick Andrews, Brattleboro Police Department

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EXHIBIT C
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-/f- 02. __ T. Violette

ADMINISTRATION MEETING
May 15, 1996
Present: Susan Sien, Kathy Gent, Will Verbits, Dick Virkstis, Brenda Fraenkel

. Minutes:

- LLOYD: Discussion began with Kathy reporting concerns regarding Lloyd and his
la¢k of motivation to do his job. There are clearly areas where he is not taking care
of his responsibilities. He blatantly is not working. He has been observed being
downstairs doing crossword puzzles, taking lengthly coffee breaks, sitting in the hall
reading the newpaper and refusing to work/help out when asked.

CRISIS: Susan reported we had a crisis meeting today conceming Steve Casella and
- Pat Rosenburg. Ina picked up from one of the students (Sara C.) that there was;
suspicion that Pat and Steve were having sexual relations, starting Jast spring. Pat
did reveal last night at Susan's house with Ina that he and Steve had engaged in
sexual activity. According to Susan, the police were called and interviewed Pat and
Steve (Laurie Meyer came to interpret). Pat's mom was called and he went home.
Also, it was discovered that there was inap ropriate sexual contact between Steve
Casella and Chris Tester, Wayne Betts, at Rosenburg which allegedly started
last spring. Since Steve Cassella has been allowed to returned to Austine (after the
allegations of (2) rapes), Pat and Steve have had inappropriate sexual contact twice
most recently, Monday night. Susan reported that Ina interviewed Wayne Betts and
he said ft was only touching on the butt. Pat and Chris Tester reported there has
been horseplay/wrestling where touching of genitals happens. Pat Woodard and
Josh Kimber denied any contact. The girls will be interviewed as well (Shellene
Johnson, Sara Cater, Erin Staley and Rebecca Ellis). Susan stated Steve was sent
home and will not be allowed to return to Austine. He was very upset and broke

down crying.

Dick asked why Steve Casella was allowed to return to schoo! and how did we try to
protect students? Susan reported he came back with a one-to-one alde. Dick stated it
doesn't look good that we allowed him to come back. Kathy asked who was the
aide? Susan reported the aide was only for after school. Will questioned why Steve
returned to school with an one-on-one at night if the alleged rape between Steve
and Vanessa happend during school hours. Susan said where was Vanessa's one-to-
one. Susan stated this sexual contact between Steve and Pat happened at night
around 12:00 AM in the bathroom. The supervisors are supposed to be walking
sround every ten minutes. Dick stated the SRS investigation was still going on and
wasn't completed and we probabaly shouldn't have had Steve come back.

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Page 2.

Gary C. moved that Dom should make changes to secure the campus at a cost
of no more than $4500. Grace seconded and all approved.

Dom shared his view of the search committee and advised bringing Warren.
Schwaab, Gertie Galloway, Joe Fishgrund, and Jay Ines to facilitate developing
a list of potential candidates for the new Executive Director. The list of potential
candidates will be derived from advertising as well. The candidetes would meet
with seven groups. One representative from each group will recommend three

peopte to the Board.

. Groups are as follows:
1. Parents
2. RA’s
3. Clinical services
4, Administration
5. Support services
6. Teachers
7. Alumni
8. Board of Directors

Meeting Adjourned,
Tami Mahurin

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EXHIBIT D

1:03-cv-00005-jgm Document1 Filed 01/06/03 Page 63 of 76
“Patrick Schrader : @ Vol. 1 @ Kolash v.
- October 28, 2002 pp. 1-253 Vermont Ctr.-for Deaf
“7 Page 181 Page 183

«1 knowledge about this. I have no personal knowledge. .
@ Q: What have you heard?
gp = A: I don’t — I don’t think that's fair.
tq. Q: Mr. Schrader, it's not a question of what's
& fair and what's not fair. I need the information,
# and I recognize that you don’t have personal
m knowledge. But I have a right to know what you
= know. Why was she asked to leave?
eA: Well, I'll tell you what the state told me
19 before I came out here and took the job, because I
(1) Called the State of Vermont. The State of Vermont
ttq told me because they were contemplating closing the
#3) school because of curriculum, lack of a curriculum
14 and lack of abiding by special ed. regulations.
{19 Those are the two reasons they gave me, because
{1 we're state approved, and we have to go through the
(7) process every few years with them.
149 MR. VAN DYCK: Could you repeat the
(19 witnesses answer for me?
eq = (Answer read back).
ty) ~©Q: Did you ever hear from anyone else
a concerning the circumstances of Ms. Sign’s
(23) departure?
eq A: I checked it out, yes.

«1 A: Rumors of poor supervision and ignoring
1 policies.
m Q: Well, I'd like you to be a litle bit more
4) Specific with me, if you could. Did you learn, for
& example, of any issues conceming sexual harassment
ts OF sexual abuse? You have to say yes or no.
mA: Yes, yes.
«©. Q: What did you learn?
m A: I just learned that there were people
iq accused of that kind of thing, and that it wasn’t —
(11] as I said, they didn’t enforce the policies to take
(tq care of it. That's what I learned.
(1 «© Q: Who were the people that were being accused

(14) Of it?

us, A: Well, Don Powers, Susan Sign.

116 «6 Q:: Anyone else?

17) A: Those are the two names that I —

13 Q: So Don Powers was being accused of molesting
(iq students at the school?

fq) «= A: CWitness nodded).

2) Q: And Susan Sign was being accused of

24 molesting students at the school?

3] A: No, she was being accused of not taking care
(4) Of it, not implementing the policies, not taking

Page 182
ty Q: Who did you check it out with?
fa A: Other superintendents of deaf schools around
% the country for one thing.
 Q: What did you learn?
© A: I learned of problems.
| Q: What problems did you lear of?
™ A: Just poor supervision of staff, ack of
& implementing policies, that kind of thing.
@ Q: Did you learn anything else as a result of
{1q those discussions?
(1 A: All that comes to my mind is it was kind of
(14 a sad situation, Ict’s put it that way.To this day
(4 [have trouble talking about it. It was just a sad
{tq situation. There were a lot of people — well, T'll
(19 just give you this quick example. was interviewed
t1q by seven committees for this job. All seven
(17) committees were in tears. All seven committees just
(19 wanted to know if I could save them, save the
1% school_That was my interview. Different than I'd
ever faced before.
fy © Q: Did you learn of any particular problems
4 with respect to staff relations with students?
ex =A: Rumors. Nothing that I, you know, yeah.
e4 Q: What rumors?

Page 184

{] Care of it.
f@ @Q: Anyone else that you're aware of who was
p being accused of sexual molestation?
«| A: Not that I'm aware of.
Ey «© Q: Does the name Albertson ring 2 bell with

1 you, Steve Albertson?

mA: Yeah, I think — jeepers.That’s an

@] employee name, is it?

m Q: I'm tired, but I think he’s the employce.
19) OA: If I recall, I think it’s the same guy. If
111) I recall when I got there, he was accused of
j1q something that was later proven not to be true,
{14 proven not by me, by you guys, lawyers and stuff.
(14) Q: What were the accusations that were being
115} made by Don Powers? Did it involve pedophilia?

tie =A: Yeah.

74 Q: Young kids, correct?

13) «=A: All ages.

11 = Q: Were they boys or girls or both?

eq «= A: Boys mzaintly, that I'm aware of. -

1) Q: Did those accusations, was there any
24 resolution to those accusations?

ex ~=—sA: No.

4 ~=©—Q: So to this day those accusations, we still

Page 181 - Page 184 (48)

Min-U-Script®

Jones, Fritz & Sheehan “\)
1:03-cv-00005-jgm Document1 Filed 01/06/03 Page 64 of 76

EXHIBIT E
1:03-cv-00005-jgm ~Document1 Filed 01/06/03 Page 65 of 76

e
5)Wuwln.

AUSTINE

ea First‘Evaluation [) Second Evaluation oO Third Evaluation

Nome: _¥e Khop

Assignment ah t h seks hong sit
Date: _ ih ‘a 24.

*

A 1730

Austine.School for the Deaf/Hard-of- Hearing .
320 Maple Street Brattleboro, Vermont 05303-2694 Voice/TTY: 802.254.4571 Fax: 802-254-3921

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1:03-cv-00005-jgm Document1 Filed 01/06/03 Page 66 of 76

e
)S)b—u“n

- AUSTINE

STUDENT LIFE STAFF EVALUATION FORM ~

O= Outstanding S = Satisfactory NI = Needs Improvement U = Unsatisfactory

DORMITORY MANAGEMENT: oO
O S NI’ U-
s - Planning and Preparation .
-with HSDAs, set realistic goals’ and obj jectives; oO D af 0
establishes logical priorities me : 3
" -shows evidence of proper use of available” oO. .0 BY 0
resources oo
--recognition of and provision for individual 0 O a” 0

_ differences

* Motivation of Activities:

-demonstrates respect for students through fair O O
and consistent attitude *

-demonstrates high/appropriate expectations for oO
student behavior

-appropriate student behavior is clearly defined, 0 O
communicated to students and consistently

"monitored

-with regard to discipline, students are treatedin OQ O
fair firm and consistent manner, taking
individual needs into account

VAR

-develops state of readiness of activities 0 O 0
_ ccreates an awareness of need and purposes for O O ‘Oo
- the activity
-encourages participation through positive 0 0

reinforcement and appropriate praise
-holds attention of the students in the group D0 6O
-generates enthusiasm through discussionusing O O
students’ ideas and suggestions

RA RRR

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. A 1731

Austine School for the Deaf/Hard-of-Hearing
120 Maple Street Brattleboro, Vermont 05301-2694 Voice/TTY: 802-254-4571 Fax: 802. 254- shh
1:03-cv-00005-jgm Document1 Filed 01/06/03 Page 67 of 76

e Action O S NI
-appropriate use of students’ guidelines 0°60 ow
-cohtrol, but not in domination of the group bo Oe

_-is consistent in dealing with similar situations 0 ODO wy
-assists with individual homework assignments 00
: -keeps track of students’ whereabouts . oOo
_ -usés a variety of materials and activities 0D we
°° USe of Physical Facilities. - Oo
_ 20rderliness.of dormitory areas - 00
_-effective use of displays, posters,maps,ect. O O a
-uses bulletin board(s) appropriately 00 wf
“ ‘shows Fespéct for equipment and materials - 00 &
mS PERSONAL QUALITIES: ~
“e Initiatives
. -completes assignments 0.60 aw
pe Oo

~volinteers for additional responsibilities .

e Dependali lity

‘-cambe depended uponatall times tocarry .§ OF .O © a
___,.out designated responsibilities; even
“*-. iman emergency °
.--aécurately performs assignments withinthe OO - O Qo.
"| scope of job requirements c
. maintains satisfactory records of attendance 0 we oF
. edi isplays good judgment “oO O a
° Punctuality :
___ ~arrives to work on time and leaves at appropriate O ee
-gives ample advance notice of absences or Do oe.
... personal days needed
-always punctual in handling assignments and D O
~ submitting reports
D

a 9 8

-keeps logs and records up to date 0

%

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1:03-cv-00005-jgm Document1 Filed 01/06/03 Page 68 of 76

Communication and Cooperation with Other Staff
-works effectively with other SDAs
-cotnmunicates adequately with partner and

fellow SDAs

O00

-shares ideas and professional information with O _

fellow SDAs, HSDAs, teachers, and/or —
administrators
-is receptive to other people's viewpoints - 0

-recognizes and supports departmental and 0 -:-

- . school objectives:

Coriwnuhication Skills

-is effective in use of a variety of communication dD

’ skills
-is able to understand any students | O-
Attitude Toward. Students
-demonstrates appropriate adult role modeling 0
-provides a friendly, warm atmosphere _. 0
___-knows éach.student as an individual 0
' -shows tact, patience and consideration in 0
dealing with students
-gives praise to students as positive reinforcementO
-is fair and impartial —  O
_-develops mutual respect and tolerance — . O

Acceptance and Criticism
-accepts suggestions and criticisms 0
~cooperates in effort to improve performance D
in a positive manner

Personal Growth
_ has thorough, detailed knowledge of policies an and O
procedures
-is open to learning D
-attends in-service meetings 0
-participates in staff meetings 0
-seeks advice & guidance from fellow professionals 0

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1:03-cv-00005-jgm Document1 Filed 01/06/03 Page 69 of 76

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AUSTINE

John does a good job as SDA as general and he does show.up on time and communicate
with me about his absent or sick leave. ‘He helps put visual things on High School boy

' dorm wall. He has lot of potential in his future but. some areas that he needs to improve
are: planning head of time with approval; set up goals and plan for students; showing,on
time: prepared, participation through positive reinforcément and appropriate praise; Kener
staff's policies and procedure; read student’s guideline; ‘dealing with similar situations,
maintain control students in‘dining hall; incident reports within 24 hours; timnecard on tinie;
professionalisri in behavior, keep communication what’s happening. around students; ask

for advice or guidance f from: others; and complete assignment.

Response From s Student Development. Advisor: -

Recommended to Return School Yeér

‘Not recommended to Return School Yeor

Head Student Development Advisor

Student Development Advisor

Dbts fe iy,

>

Austine School for the Deaf/Hard-of-Hearing

N24) Maple Street Provlebore. Vermont 02=6).2694 Vone c/ STY: S02-254-447) Fax: nl 2.2)
1:03-cv-00005-jgm Document1 Filed 01/06/03 Page 70 of 76

December 19, 1996

To: Alana Olson, Director of Student life ON °

Fr. Nancy Bonura, Head Student Development Advisor (a /

Re: Evaluation / Outstanding.

I would hketo enclose this in my file for record; that you \ atid I had. discusied the rnatter
. about removing “outstanding” fromthe evahiation form. - I- strongly, personally feel -
“outstanding” will prevent the possibilities of improving abilities from the staff. Insteading
of: using. “outstanding”, I suagest using the term of “satisfactory” i ini the evaluation fom.

Pat Schrader, Headsiaster” ~

A 1735
1:03-cv-00005-jgm Document1 Filed 01/06/03 Page 71 of 76

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AUSTINE

Rg

December 20, 1996

To: John Riekhop
_ Student Development, Advisor

Froia: AlariaD, Olson (LQ
. Director of Student Life

Re: ‘Handing in his time card late’

This letter is a follow up on our meeting today, December 20, 1996 in my office. We

. discussed’on your chronic handing in your time card late to Nancy Bonura, your Head
SDA. You understand that next time if and when you hand in late, Nancy will not make
any effort to get it to the Business Office on time and this may result your missing the next ~
paycheck:

A 1736

Austine School for the Deaf/Hard-of-Hearing
120 Maple § Sureet Br: attlebore, Vermont 05301-2694 Voice/ TTY: 802-254-457 1 Fax:-802-254-392)
1:03-cv-00005-jgm Document1 Filed 01/06/03 Page 72 of 76

EXHIBIT F
1:03-cv-00005-jgm Document1 Filed 01/06/03 Page 73 of 76

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May 7, 1997:
: ‘Meeting Minutes

Attending: ‘Alana Olson, Pat Schrader, Ina Schaeffer, Dolph Rekhop

Interpreter: Virginia Husted

Alana began by stating that the reason for requesting the meeting today was
because last Sunday (May 4, 1997), S.T, came to her office, upset and said
she needed fo talk about something that had happen on the previous Friday
(May 2, 1997) on the bus riding home. S,T, stated that Dolph asked her if
she had lost her virginity. S.T. stated that she said it was none of his
business, Then she stated that Dolph made a kissing face and she began to
cry. Alana asked S.T. if there were witnesses she sald one student.

Alana stated that these were serious allegations and contacted Pat. Pat
advised her to ask the students if they were willing to make written
Statements. They agreed and made written statements that they signed.
At thot time, Austine had no other choice In accordance with the Austine
policies and procedures but to put Dolph on administrative leave to have an
opportunity to investigate the situation further. . “ee

Alana stated that after she had gathered sufficient information she asked
Dolph to meet here today to share his side of the story, Alana also state -
she has a copy of the incident report as written by Dolph.

Dolph then asked if S.T. had told Alana more because there were parts of
the story missing and facts were confused. Dolph asked if S.T. stated that

" she brought up the Issue with Dolph that she was raped. Alana said that
S,T. did not say this to her.

Dolph asked if S.T. had told Alana about Dolph's marrying his girlfriend and
having the baby live with them, Alana said no 5.T. did not say that. Dolph
stated that S.T_ constantly ralses this subject with him.

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1:03-cv-00005-jgm Document1 Filed 01/06/03 Page 74 of 76

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Dolph stated that on Friday he agreed to be a substitute supervisor on the
bus taking students home. D. T. was at that time having difficulty so he was
asked to keep a close eye on DT, When the younger kids were dropped of f
the bus D.T_ asked Dolph if he could to move to the front of the bus. Dolph
asked other staff on the bus and they said it was OK. D.T. and Dolph then
moved to the front of the bus. 8.8, had hurt himself and Dolph took care of
this and made sure everything was OK, Then S.T, brought up the issue of
Dolph getting married in the future. Delph did not want to discuss this issue
egain with S.T. (she frequently questions him about his relationship with his
girlfriend), Dolph simply nodded in response, Another staff member saw
this. Then Dolph asked S.T. if everything was going OK with D.N. She sald
fine and asked if Dolph knew that she was raped. Dolph stated he asked
S.T. if she reported this and she sald yes, Then she went on fo tell Dolph
about the rape. Dolph state he did not want to know about it but listened, |
Then Dolph asked S.T. if she knew the difference between rape, sex and
harassment, 5S.T. said no so Dolph tried to explain to her the difference
betiveen rape, sexual harassment.

Alana stated that through her Investigation she had talked with Rebecca
Hilding and John Fish. Now with Dolph’s statements she feels that Dolph
did not do anything inappropriate and felt that S.T, may be exhibiting Post
Traumatic Stress Syndrome, confusion, and needs to see a counselor. Ina
asked how Alana knows that S.T. suffers from Post Traumatic Stress
Syndrome, and Alana stated that this was a possibility. Alana stated-that
Dolph has.done a very good job and has been professional in all aspects of
his job, Dolph stated that he did not ever talk to S,T, about virginity.

Alana then stated that we would like Dolph to come back to work, Dolph
asked If the charges will be dropped, Pat stated that there never were any
charges made by Austine. A female student made accusations. We had no
choice but to put Dolph on administrative leave once the student and student
witness had mode written statements from the students. Alana stated that
she talked with S.T. this morning and S,T. said she would feel comfortable
having Dolph come back to work.

Dolph stated that he feels now that he should have documented more about
5.T.’s constant approaching him and asking him about marrying his girlfriend.

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1:03-cv-00005-jgm Document1 Filed 01/06/03 Page 75 of 76

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Dolph also said that S.T. had stated that when she turned 18 she and he
could go out together.

Delph stated that since the phone call from Alana stating that he needs to
stay home it has been very emotionally upsetting for him. He has not been
eating or sleeping well and this has been a knot In his stomach. He feels that
he has been stabbed in the back. He did not do anything te deserve this
feeling.

Pat stated that life is not foir sometimes and that for himself as a male
teacher he realized that he had to be very careful. He will never get into a
discussion about marriage, having bebles or sex with a student. Young girls
are becoming young women and they like Dolph. He is popular and boys and
girls like him, Some girls will like him and have feelings for him.

Pat stated that Austine never accused Dolph of anything. We have to
protect our students. If a student makes a written statement, we must
investigate and put the staff member on administrative leave. Pat said that
he had similar experiences as a male teacher and sympathizes with Dolph's
position. .

Ina reiterated that Austine never accused Dolph of anything, Alana has to
do her duty, Ina stated she sees this as a situation for staff training
stating that many of our students don't understand cbout boundaries and
Dolph became a victim because he was trying to help. Ina thinks both Staff
and students need training on boundaries.

Dolph shared his opinion that S.T. needs some help and needs to see a
counselor. Alana stated that S.T.'s parents have been contacted and Alana
will further recommend they set up counseling with an outside female
counselor who is Deof,

Pat felt that S.T. should apologize to Dolph. Alana stated that S.T. still
insists that Dolph did say this but she feels comfortable hoving Dolph come
back. Ina stated that Sam has a history of forcing people to back her up
(i.e, her witness) and she also has a learning disability and mixes things up.

A 2096
1:03-cv-00005-jgm Document1 Filed 01/06/03 Page 76 of 76

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Alana stated that students come here with a wide variety of backgrounds
and confusion over boundaries. Adults working with these students have to
be careful, Dolph asked that if it was the role of the SDA to teach the
children. Alana suggested that teaching obout sex and harassment should be
referred to the counselor. Pat stated that today's world is a lot more free
and sex is often a topic with younger children. They get confused and the
Sign sex may have nahy different meanings to children, Pat suggested that
any issues related to a girls body, sex, babies, etc, should be referred by
SDA's to Alana, Ina and/or Joyce.

Dolph stated that he feels awkward coming back and feels shamed. Pat
stated that every adult he talked to supported Dolph and respects him as an
employee and many people came to Pat especially to tell him about this and
they also know S.T. and her history.

This Is not and simple Issue and you are hurt inside. Pat stated he thinks the
best things for Dolph to do Is 10 come back and be with the kids and staff
who appreciate him, ,

Ina asked how Dolph should react with S.T. Dolph said he would prefer to
have other staff around when he has contact with her, Pat asked that some
one from the counseling department should talk to S.T. and S.T. should
apologize or recognize that she needs to learn from this situation. Alana
stated that she will suggest the parents seek outside counseling: Alana
stated that there is nothing in Dolph’s personnel file regarding this incident
and Alana stated that her files are not permanent and will be destroyed.

Pat stated that he has never heard a complaint about Dolph and he is a very
good employee and if there is anything else that Dolph would like to discuss
please come to see him or Ina. If S,T, does anything inappropriate Dolph
should go to Rebecca (if it happens in the school) or Alana (if it happens in
the dorm). Pat stated that when Dolph goes back to work it may be a little
hard for a few days but he Is 100% welcome back to Austine and he is a very
good employee. Suggestions were made to focus on the kids that Dolph
works with,

Dolph asked to return to work tomorrow to give himself time to get himself
back together. Pat and Alana stated that this would be OK.

A 2097
